     Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 1 of 56


 1    ROB BONTA
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 2    ANYA M. BINSACCA, State Bar No. 189613
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 3    Supervising Deputy Attorneys General
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 7     E-mail: Kristin.Liska@doj.ca.gov
      Attorneys for Defendants
 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                     SACRAMENTO DIVISION
11

12

13    LETRINH HOANG, D.O., PHYSICIANS               Case No. 2:22-cv-02147-WBS-AC
      FOR INFORMED CONSENT, a not-for
14    profit organization, and CHILDREN’S
      HEALTH DEFENSE, CALIFORNIA
15    CHAPTER, a California Nonprofit               REQUEST FOR JUDICIAL NOTICE
      Corporation,
16                                                  Date:         January 23, 2022
                                        Plaintiffs, Time:         1:30 p.m.
17                                                  Dept:         5
                   v.                               Judge:        The Honorable William B.
18                                                                Shubb
                                                    Trial Date:   Not scheduled
19    ROB BONTA, in his official capacity as        Action Filed: 12/01/2022
      Attorney General of California, and ERIKA
20    CALDERON, in her official capacity as
      Executive Officer of the Osteopathic
21    Medical Board of California (“OMBC”),

22                                    Defendants.

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                                                     Request for Judicial Notice (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 2 of 56


 1          Defendants respectfully request that the Court take judicial notice of the public records and

 2    facts identified below, which are not subject to reasonable dispute, under Federal Rule of

 3    Evidence 201.

 4          A fact is judicially noticeable when it is not subject to reasonable dispute and “can be

 5    accurately and readily determined from sources whose accuracy cannot reasonably be

 6    questioned.” Fed. R. Evid. 201(b)(2). Judicial notice is mandatory if “a party requests it” and the

 7    court is “supplied with the necessary information.” Fed. R. Evid. 201(c)(2). Judicial notice may

 8    be taken at any stage of the proceeding. Fed. R. Evid. 201(d); Papai v. Harbor Tug & Barge Co.,

 9    67 F.3d 203, 207 n.5 (9th Cir. 1995), overruled on other grounds, 520 U.S. 548 (1997).

10    “Legislative history is properly a subject of judicial notice.” Anderson v. Holder, 673 F.3d 1089,

11    1094 n.1 (9th Cir. 2012); see also, e.g., Chaker v. Crogan, 428 F.3d 1215, 1233 n.8 (9th Cir.

12    2005) (taking judicial notice of legislative history of California statute).

13          Here, Defendants respectfully request that this Court take judicial notice of the following

14    statute and legislative history reports, which are not subject to reasonable dispute:

15          1.    Exhibit A: A copy of the 1876 Act to Regulate the Practice of Medicine in the State

16    of California, recorded at Stat. 1876, ch. 518, pp. 792-794.

17          2.    Exhibit B: A copy of the report prepared by the Assembly Committee on Business

18    and Professions on AB 2098 for the April 19, 2022 hearing on the bill.1

19          3.    Exhibit C: A copy of the report prepared for the Assembly on AB 2098 for the bill’s

20    third reading, dated April 20, 2022.
21          4.    Exhibit D: A copy of the report prepared for the Senate Committee on Business,

22    Professions, and Economic Development on AB 2098 for the June 27, 2022 hearing on the bill.

23          5.    Exhibit E: A copy of the report prepared for the Senate on AB 2098 for the bill’s

24    third reading, dated August 13, 2022.

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             1
                Copies of all legislative history reports are available at
28    https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=202120220AB2098.
                                                          1
                                                            Request for Judicial Notice (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 3 of 56


 1         7.    Exhibit F: A copy of the report prepared for the Assembly on AB 2098 for the vote

 2    on the concurrence on Senate Amendments, dated August 22, 2022.

 3

 4

 5    Dated: December 27, 2022                         Respectfully submitted,

 6                                                     ROB BONTA
                                                       Attorney General of California
 7                                                     ANYA M. BINSACCA
                                                       EDWARD KIM
 8                                                     Supervising Deputy Attorneys General
                                                       CHRISTINA SEIN GOOT
 9                                                     Deputy Attorney General

10

11                                                     /s/ Kristin Liska
                                                       KRISTIN A. LISKA
12                                                     Deputy Attorney General
                                                       Attorneys for Defendants
13

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                                                       Request for Judicial Notice (2:22-cv-02147-WBS-AC)
Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 4 of 56




              EXHIBIT A
Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 5 of 56
 792                                      STA'l'UTJ£8 OF CAJ,WOUNIA,


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                                                                                                                    Exhibit A
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Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 6 of 56
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Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 7 of 56
  794                                  STATUTES OF CALIFOUNIA,

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                    CHAP.     DXIX.-...111 A<'i ,li11· tl,r- l'di,:f qf .J. ,/. C'u,1li11.
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                                                                                                                       Exhibit A
                                                                                                                         Page 3
Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 8 of 56




              EXHIBIT B
     Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 9 of 56
                                                                     AB 2098
                                                                       Page 1

Date of Hearing: April 19, 2022

              ASSEMBLY COMMITTEE ON BUSINESS AND PROFESSIONS
                                Marc Berman, Chair
                   AB 2098 (Low) As Introduced February 14, 2022

SUBJECT: Physicians and surgeons: unprofessional conduct.

SUMMARY: Expressly provides that the dissemination of misinformation or disinformation
related to COVID- 19 by physicians and surgeons constitutes unprofessional conduct.

EXISTING LAW:

1) Enacts the Medical Practice Act, which provides for the licensure and regulation of
   physicians and surgeons. (Business and Professions Code (BPC) §§ 2000 et seq.)

2) Establishes the Medical Board of California (MBC), a regulatory board within the
   Department of Consumer Affairs (DCA) comprised of 15 appointed members. (BPC § 2001)

3) Enacts the Osteopathic Act, which provides for the licensure and regulation of osteopathic
   physicians and surgeons. (BPC §§ 2450 et seq.)

4) Establishes the Osteopathic Medical Board of California (OMBC), which regulates
   osteopathic physicians and surgeons who possess effectively the same practice privileges and
   prescription authority as those regulated by MBC but with a training emphasis on diagnosis
   and treatment of patients through an integrated, whole-person approach. (BPC § 2450)

5) Provides that protection of the public shall be the highest priority for both the MBC and the
   OMBC in exercising their respective licensing, regulatory, and disciplinary functions, and
   that whenever the protection of the public is inconsistent with other interests sought to be
   promoted, the protection of the public shall be paramount. (BPC § 2001.1; § 2450.1)

6) Entrusts the MBC with responsibility for, among other things, the enforcement of the
   disciplinary and criminal provisions of the Medical Practice Act; the administration and
   hearing of disciplinary actions; carrying out disciplinary actions appropriate to findings made
   by a panel or an administrative law judge; suspending, revoking, or otherwise limiting
   certificates after the conclusion of disciplinary actions; and reviewing the quality of medical
   practice carried out by physician and surgeon certificate holders under the jurisdiction of the
   board. (BPC § 2004)

7) Authorizes the MBC to appoint panels of at least four of its members for the purpose of
   fulfilling its disciplinary obligations and provides that the number of public members
   assigned to a panel shall not exceed the number of licensed physician and surgeon members.
   (BPC § 2008)

8) With approval from the Director of Consumer Affairs, authorizes the MBC to employ an
   executive director as well as investigators, legal counsel, medical consultants, and other
   assistance, but provides that the Attorney General is legal counsel for the MBC in any
   judicial and administrative proceedings. (BPC § 2020)


                                                                                         Exhibit B
                                                                                           Page 1
    Case 2:22-cv-02147-WBS-AC Document 16-3 Filed 12/27/22 Page 10 of 56
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                                                                       Page 2

9) Allows the MBC to select and contract with necessary medical consultants who are licensed
   physicians to assist it in its programs. (BPC § 2024)

10) Empowers the MBC to take action against persons guilty of violating the Medical Practice
    Act. (BPC § 2220)

11) Requires the Director of Consumer Affairs to appoint an independent enforcement monitor
    no later than March 1, 2022 to monitor the MBC' s enforcement efforts, with specific
    concentration on the handling and processing of complaints and timely application of
    sanctions or discipline imposed on licensees and persons in order to protect the public. (BPC
    § 2220.01)

12) Requires the MBC to prioritize its investigative and prosecutorial resources to ensure that
    physicians representing the greatest threat of harm are identified and disciplined
    expeditiously, with allegations of gross negligence, incompetence, or repeated negligent acts
    that involve death or serious bodily injury to one or more patients receiving the highest
    priority. (BPC § 2220.05)

13) Clarifies that the MBC is the only licensing board that is authorized to investigate or
    commence disciplinary actions relating to the physicians it licenses. (BPC § 2220.5)

14) Provides that a licensee whose matter has been heard by an administrative law judge, or
    whose default has been entered, and who is found guilty, or who has entered into a stipulation
    for disciplinary action with the MBC, may be subject to various forms of disciplinary action.
    (BPC § 2227)

15) Provides that all proceedings against a licensee for unprofessional conduct, or against an
    applicant for licensure for unprofessional conduct or cause, shall be conducted in accordance
    with the Administrative Procedure Act. (BPC § 2230)

16) Requires the MBC to take action against any licensee who is charged with unprofessional
    conduct, which includes, but is not limited to, the following:

   a) Violating or aiding in the violation of the Medical Practice Act.

   b) Gross negligence.

   c) Repeated negligent acts.

   d) Incompetence.

   e) The commission of any act involving dishonesty or corruption that is substantially related
      to the qualifications, functions, or duties of a physician.

   f) Any action or conduct that would have warranted the denial of a certificate.

   g) The failure by a physician, in the absence of good cause, to attend and participate in an
      investigatory interview by the MBC.

   (BPC § 2234)

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17) Provides that a physician shall not be subject to discipline solely on the basis that the
    treatment or advice they rendered to a patient is alternative or complementary medicine if
    that treatment or advice was provided after informed consent and a good-faith prior
    examination; was provided after the physician provided the patient with information
    concerning conventional treatment; and the alternative complementary medicine did not
    cause a delay in, or discourage traditional diagnosis of, a condition of the patient, or cause
    death or serious bodily injury to the patient. (BPC § 2234.1)

18) Provides that the conviction of any offense substantially related to the qualifications,
    functions, or duties of a physician constitutes unprofessional conduct. (BPC § 2236)

19) Provides that violating a state or federal law regulating dangerous drugs or controlled
    substances, constitutes unprofessional conduct. (BPC §§ 2237 -2238)

20) Provides that self-prescribing of a controlled substance, or the use of a dangerous drug or
    alcoholic beverages to the extent that it is dangerous or injurious to the physician or any other
    person, or impairs the physician's ability to practice, constitutes unprofessional conduct.
    (BPC § 2239)

21) Provides that prescribing, dispensing, or furnishing dangerous drugs without an appropriate
    prior examination and a medical indication constitutes unprofessional conduct. (BPC §
    2242)

22) Provides that the willful failure to comply with requirements relating to informed consent for
    sterilization procedures constitutes unprofessional conduct. (BPC § 2250)

23) Provides that the prescribing, dispensing, administering, or furnishing of liquid silicone for
    the purpose of injecting such substance into a human breast or mammary constitutes
    unprofessional conduct. (BPC § 2251)

24) Provides that the violation of an injunction or cease and desist order relating to the treatment
    of cancer constitutes unprofessional conduct. (BPC § 2252)

25) Provides that failure to comply with the Reproductive Privacy Act governing abortion care
    constitutes unprofessional conduct. (BPC § 2253)

26) Provides that the violation of laws relating to research on aborted products of human
    conception constitutes unprofessional conduct. (BPC § 2254)

27) Provides that the violation of laws relating to the unlawful referral of patients to extended
    care facilities constitutes unprofessional conduct. (BPC § 2255)

28) Provides that any intentional violation of laws relating to the rights of involuntarily confined
    inpatients constitutes unprofessional conduct. (BPC § 2256)

29) Provides that the violation of laws relating to informed consent for the treatment of breast
    cancer constitutes unprofessional conduct. (BPC § 2257)

30) Provides that the violation of laws relating to the use of laetrile or amygdalin with respect to
    cancer therapy constitutes unprofessional conduct. (BPC § 2258)

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31) Provides that failing to give a patient a written summary prior to silicone implants being used
    in cosmetic, plastic, reconstructive, or similar surgery constitutes unprofessional conduct.
    (BPC § 2259)

32) Provides that failing to give a patient a written summary prior to collagen injections being
    used in cosmetic, plastic, reconstructive, or similar surgery constitutes unprofessional
    conduct. (BPC § 2259.5)

33) Provides that any violation of extraction and postoperative care standards constitutes
    unprofessional conduct. (BPC § 2259.7)

34) Provides that the removal of sperm or ova from a patient without written consent constitutes
    unprofessional conduct. (BPC § 2260)

35) Provides that the violation of laws relating to human cloning constitutes unprofessional
    conduct. (BPC § 2260.5)

36) Provides that knowingly making or signing any certificate related to the practice of medicine
    which falsely represents the existence or nonexistence of a state of facts constitutes
    unprofessional conduct. (BPC § 2261)

37) Provides that altering or modifying the medical record of any person, with fraudulent intent,
    or creating any false medical record, with fraudulent intent, constitutes unprofessional
    conduct. (BPC § 2262)

38) Provides that numerous other inappropriate activities or violations of the law constitute
    unprofessional conduct. (BPC §§ 2263 - 2318)

39) Requires that licensees be given notification of proposed actions to be taken against the
    licensee by the MBC and be given the opportunity to provide a statement to the deputy
    attorney general assigned to the case. (BPC § 2330)

THIS BILL:

1) Provides that the dissemination or promotion of misinformation or disinformation related to
   COVID- 19 by a physician and surgeon constitutes unprofessional conduct.

2) Includes false or misleading information regarding the nature and risks of the COVID- 19
   virus, its prevention and treatment, and the development, safety, and effectiveness of
   COVID- 19 vaccines as types of misinformation or disinformation that could be disseminated.

3) Requires the MBC or OMBC to consider the following factors prior to bringing a
   disciplinary action against a licensee for disseminating misinformation or disinformation:

   a) Whether the licensee deviated from the applicable standard of care.

   b) Whether the licensee intended to mislead or acted with malicious intent.

   c) Whether the misinformation or disinformation was demonstrated to have resulted in an
      individual declining opportunities for COVID - 19 prevention or treatment that was not
      justified by the individual's medical history or condition.
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    d) Whether the misinformation or disinformation was contradicted by contemporary
       scientific consensus to an extent where its dissemination constitutes gross negligence by
       the licensee.

4) Defines "physician and surgeon" as a person licensed by either the MBC or the OMBC.

5) Provides that violators of the bill's provisions are not guilty of a misdemeanor.

6) Makes various findings and declarations in support of the bill.

FISCAL EFFECT: Unknown; this bill is keyed fiscal by the Legislative Counsel.

COMMENTS:

Purpose. This bill is sponsored by the California Medical Association. According to the
author:

    "AB 2098 is crucial to addressing the amplification of misinformation and disinformation
    related to the COVID - 19 pandemic. Licensed physicians, doctors, and surgeons possess a
    high degree of public trust and therefore must be held accountable for the information they
    spread. Providing patients with accurate, science-based information on the pandemic and
    COVID- 19 vaccinations is imperative to protecting public health. By passing this legislation,
    California will show its unwavering support for a scientifically informed populous to protect
    ourselves from COVID- 19."

Background.

COVID-19 Pandemic and Vaccines. To date, over 984,000 people have died ofCOVID - 19 in the
United States, including approximately 90,000 Californians. 1 On March 4, 2020, Governor
Gavin Newsom proclaimed a State of Emergency as a result of the impacts of the COVID - 19
public health crisis, and on March 19, 2020, the Governor formally issued a statewide "stay at
home order," directing Californians to only leave the house to provide or obtain specified
essential services. Subsequent guidance from the State Public Health Officer expressly
exempted from that order various professionals regulated by the Department of Consumer
Affairs (DCA), including physicians and surgeons providing essential care.

On March 30, 2020, Governor Newsom announced an initiative to "expand California's health
care workforce and recruit health care professionals to address the COVID - 19 surge" and signed
Executive Order N -39-20. This executive order established a waiver request process under the
DCA and included other provisions authorizing the waiver of licensing, certification, and
credentialing requirements for health care providers. Through this waiver process, the DCA
issued a series of waivers of law to authorize various healing arts professionals to order and
administer COVID- 19 vaccines. These waivers aligned with similar authority granted federally
under the Public Readiness and Emergency Preparedness (PREP) Act for Medical
Countermeasures Against COVID- 19.




1
  Data current as of April 11, 2022; the number of Californians who have died from causes related to COVID - 19 has
risen 20 percent since this bill was introduced with its current findings and declarations.
                                                                                                        Exhibit B
                                                                                                          Page 5
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Vaccines are regulated and overseen by multiple federal entities responsible for ensuring their
safety and efficacy. The federal Food and Drug Administration (FDA) is initially responsible for
approving new drugs, determining both that they are safe to administer and that their
recommended use is clinically supported. During states of emergency, the FDA may expedite
their review through the Emergency Use Authorization (EUA) process to accelerate the
availability of new immunizations or treatments. Currently, three vaccines have been approved
through the EUA process for COVID - 19. These vaccines have additionally been reviewed and
found safe by national experts participating in a Western States Scientific Safety Review
Workgroup. Data has continued to show that the risks of infection, hospitalization, and death for
vaccinated individuals are dramatically lower than for those who have not been vaccinated. 2

Misinformation and Disinformation. This bill is intended to target three types of false or
misleading information relating to the COVID- 19 pandemic. First, the language refers to
nonfactual information regarding ''the nature and risks of the virus"-for example, misleadingly
comparing COVID - 19 to less serious conditions or inaccurately characterizing the deadliness of
the disease. Second, the bill seeks to address false statements regarding its "prevention and
treatment"-this would presumably include the promotion of treatments and therapies that have
no proven effectiveness against the virus. The third category is for misinformation or
disinformation regarding ''the development, safety, and effectiveness of COVID- 19 vaccines."

Public skepticism and misunderstanding of diseases, treatments, and immunizations is not unique
to COVID - 19. The earliest known group formed to oppose vaccination programs, the National
Anti-Vaccination League, was established in the United Kingdom in 1866 following a series of
violent protests against mandatory smallpox immunizations in the Vaccination Act of 1853. 3 In
1918, conspiracy theories were circulated that the Spanish Flu pandemic was a deliberate act of
biological warfare, spread through aspirin manufactured by German company Bayer. 4

What has been historically unprecedented about the dissemination of misinformation and
disinformation throughout the COVID- 19 pandemic is the omnipresence of media coverage and
the prevalence of social media. False information can easily be spread to millions within days or
even hours of it being created. It can become challenging for a population already feeling
overloaded with complex information to differentiate between thoroughly researched, accurate
reporting and information that is oversimplified, unproven, or patently false. 5

A substantial factor in the spread of false information is a phenomenon known as "confirmation
bias." When individuals hold a preexisting belief or suspicion, they will often unconsciously
seek out information to validate that predisposition and filter out contradictory evidence. 6 The
persistence of modem media exposure and the internet has exacerbated this effect, as information
seeming to support virtually any viewpoint or understanding can now easily be found through the
use of search engines and social media. Many websites further exacerbate the issue of
confirmation bias by algorithmically delivering consistent information to users who have
demonstrated a pattern of belief or ideology.


2
  Dyer, Owen. "COVID- 19: Unvaccinated face 11 times risk of death from delta variant, CDC data show." BMJ
(Clinical researched) vol. 374 (2021).
3
  Wolfe, Robert M. "Anti-vaccinationists past and present." BMJ (Clinical researched) vol. 325 (2002).
4
  Johnson, Norman A. "The 1918 flu pandemic and its aftermath." Evo Edu Outreach 11, 5 (2018).
5
  Nelson, Taylor. "The Danger of Misinformation in the COVID - 19 Crisis." Missouri medicine vol. 117, 6 (2020).
6
  Nickerson, Raymond S. "Confirmation bias: A ubiquitous phenomenon in many guises." Review of General
Psychology, 2 (1998).
                                                                                                       Exhibit B
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The role of physicians and other health professionals in legitimizing false information during the
COVID- 19 pandemic has presented serious implications for public safety. For example, the
federal Centers for Disease Control and Prevention (CDC) has for decades been recognized as
the United States government's primary agency for protecting Americans through expert
research and advice related to the control and prevention of communicable disease. The CDC
has consistently warned Americans about the threat of COVID - 19 and strongly encouraged
vaccination. However, throughout the pandemic, many individuals who are predisposed toward
skepticism of the government and incredulity toward vaccines have sought to validate those
views, despite unambiguous guidance to the contrary from leading health experts.

As a result, health practitioners whose views on COVID - 19 and immunization against it are
within the extreme minority for their profession are armed with a disproportionately loud voice
in the public discourse. Antigovernment cynics and vaccine skeptics cohere to the opinions of
those few physicians who will reinforce their beliefs as they seek to appeal to authority in service
of their confirmation bias. 7 The effect of this is that a relatively small group of public health
contrarians who are licensed as physicians will be afforded the same, if not more, credibility as
long-trusted public institutions like the CDC, the FDA, and the American Medical Association,
even if those physicians do not specialize in epidemiology or infectious disease prevention.

The incongruity of this reasoning is frequently rationalized in part through conspiracy theories
about the medical establishment. This is not novel. When allopathic medicine first achieved
dominance during the Progressive Era, there were many who vilified the medical system as
financially motivated, accusing "modem medicine men" of oppressing natural therapies in order
to profit from a monopoly on health care practice. 8 Other related conspiracy theories frequently
involve the United States government, which has been accused of everything from inventing or
exaggerating the pandemic to suppressing natural remedies, or even using COVID - 19 vaccines
as a clandestine method for implanting microchips into Americans. 9

Role ofState Medical Boards. Physicians and surgeons in California are regulated by one of two
entities: the Medical Board of California (MBC) or the Osteopathic Medical Board of California
(OMBC). The MBC licenses and regulates about 153,000 physicians while the OMBC licenses
and regulates slightly over 12,000. Despite receiving different forms of medical education and
being overseen by separate boards, the essential scope of practice for these two categories of
licensees are virtually identical.

In July of 2021, the Federation of State Medical Boards (FSMB) issued a statement positioned as
being "in response to a dramatic increase in the dissemination of COVID- 19 vaccine
misinformation and disinformation by physicians and other health care professionals on social
media platforms, online and in the media." The FSMB warned that physicians who engage in
the spread of false information related to COVID - 19 were jeopardizing their licenses to practice
medicine. While physicians are subject to discipline only by boards located in states where they
hold a license, the FSMB' s statement was viewed as a serious warning to doctors that they risked
disciplinary action if they engaged in spreading inaccurate information.


7
  Topf, Joel M., and Williams, Paul N. "COVID- 19, social media, and the role of the public physician." Blood
Purification 50.4-5 (2021).
8
  Burrow, JG. Organized Medicine in the Progresshle Era: The Move Toward Monopoly. Baltimore, MD: Johns
Hopkins University Press (1977).
9
  Rubin, Rita. "When Physicians Spread Unscientific Information About COVID - 19 ." JAMA 327 (2002).
                                                                                                       Exhibit B
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Following the FSMB's statement, some state medical boards appeared poised to take action
against licensees found to be spreading misinformation or disinformation. Tennessee's Board of
Medical Examiners adopted the FSMB' s statement as their own. However, in response, the
state's Republican legislature threatened to disband the board if it sought to take any such action
against a physician. Legislation in at least fourteen states has been introduced to prevent medical
boards from holding physicians who spread false information accountable in accordance with the
FSMB' s guidance. 10

In contrast to legislative action taken in those states, this bill would seek to confirm that in
California, physicians who disseminate COVID- 19 misinformation or disinformation are indeed
subject to formal discipline. The bill would expressly establish that such dissemination would
constitute "unprofessional conduct"-a term used prolifically in the Medical Practice Act as a
general description of numerous forms of conduct for which disciplinary action may be taken.
The MBC or OMBC would be required to consider multiple factors prior to filing an accusation,
but would ultimately be authorized to take enforcement action against physicians who have used
their licenses to jeopardize public health and safety through the spread of false information.

It is certainly meaningful that this bill would establish as a matter of California law that
physicians are subject to discipline for spreading false information. However, it is more than
likely that the MBC and OMBC are both already fully capable of bringing an accusation against
a physician for this type of misconduct. For example, the Medical Practice Act includes "gross
negligence" and "repeated negligent acts" within the meaning of unprofessional conduct,
representing situations where the physician deviated from the standard of care in the opinion of
the MBC and its expert medical reviewers.

If, for example, a physician were to advise patients to inject disinfectant as a way of treating
COVID- 19-as former President Trump once did, resulting in a sharp rise in reported incidents
of misusing bleach and other cleaning products11--disseminating that "misinformation" would
almost certainly be considered negligent care subject to discipline. Whether a case of spreading
misinformation is sufficient to bring an action for gross negligence would be evaluated using the
MBC's expert reviewer guidelines, which provide that ''the determining factor is the degree of
departure from the applicable standard of care." Similarly, it is arguable that spreading
"disinformation" as commonly defined would constitute an "act of dishonesty or corruption"-
also statutorily included within the Medical Practice Act's meaning of unprofessional conduct.

Those in opposition to this bill have expressed concern that the MBC would overzealously
prosecute doctors for expressing views that are outside the mainstream but not indisputably
unreasonable based on the physician's research and training. This apprehension cannot easily be
reconciled with persistent criticisms levied against the MBC by the Legislature and patient safety
advocates, who have repeatedly reproved the board for its underwhelming enforcement
activities. Major news editorials have pointed out that the MBC only takes formal disciplinary
action in about three percent of cases, and that more than 80 percent of complaints are dismissed
without investigation. As the Legislature persists in its admonishment of the MBC for failing to
take aggressive action against physicians who commit unprofessional conduct, it would appear
dubious that the board would excessively utilize the authority expressly provided by this bill.


10
  https://www.audacy.com/wccoradio/news/national/laws -are -stopping-medical-boards -from -punishing-doctors
11
  Gharpure, Radhika. "Knowledge and Practices Regarding Safe Household Cleaning and Disinfection for COVID-
19 Prevention." Morbidity and Mortality Weekly Report, 69 (2020).
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It stands to reason that Californians who have demonstrated suspicion toward both the medical
establishment and their government would be slow to trust the MBC, with a majority of its
members consisting of physicians appointed by the Governor. However, the degree of enmity
recently exhibited by physicians and others opposed to COVID - 19 prevention policies could be
viewed as disturbing. In December of 2021, it was reported that representatives of an anti -
vaccination organization called America's Frontline Doctors had stalked and intimidated Kristina
Lawson, President of the MBC. 12 This harassment was escalated in April of2022 when that
same organization "released a 21 -minute video that depicts Lawson in Nazi regalia, a whip in her
hand and swastika on her shoulder, and shows a clip of the garage confrontation validating
Lawson's description." 13

America's Frontline Doctors was founded by Dr. Simone Gold, who holds an active license in
California as a physician. Dr. Gold and her organization have vociferously promoted
hydroxychloroquine as a COVID- 19 treatment, despite evidence increasingly showing it to be
ineffective and potentially unsafe. 14 Dr. Gold has engaged in multiple campaigns to stoke public
distrust in COVID - 19 vaccines, characterizing them as "experimental" despite numerous safety
and efficacy trials successfully confirming their safety and efficacy. 15 Dr. Gold spoke at a rally
held in conjunction with the attempted insurrection on the United States Capitol on January 6,
2021; she was arrested and subsequently pleaded guilty to a misdemeanor relating to that event.

Despite what would appear to be repeated conduct perpetrated by Dr. Gold involving the
dissemination of false information regarding COVID - 19, Dr. Gold's license remains active with
the MBC and there appears to be no record of any disciplinary action taken against her. 16 Given
the air of legitimacy she sustains from her status as a licensed physician, Dr. Gold likely serves
as an illustrative example of the type of behavior that the author of this bill seeks to
unequivocally establish as constituting unprofessional conduct for physicians in California.
Regardless of whether similar authority is already available to the MBC through other
enforceable provisions in the Medical Practice Act, it is understandable that the author desires to
make this authority explicit and confirm that doctors licensed in California who disseminate
misinformation or disinformation should be held fully accountable.

Current Related Legislation. AB 1636 (Weber) would prohibit the MBC from granting or
reinstating physician certificates to individuals who commit sexual misconduct and require the
MBC to revoke the licenses of physicians to commit such misconduct. This bill is pending in
this committee.

AB 1767 (Boemer Horvath) would remove licensed midwives from the jurisdiction of the MBC
and establish a new board to license and regulate that profession. This bill is pending in this
committee.

AB 2060 (Quirk) would change the membership composition of the MBC so that a majority of
the board consists of public members. This bill is pending in this committee.


12
   https://www.latimes.com/business/story/2021 - 12- 10/covid-anti-vax-confrontations
13
   https://www.latimes.com/business/story/2022 -04 -06/covid-anti-vaxxers -campaign-against-public-health-
advocates-gets-more -extreme
14
   Singh, Bhagteshwar. "Chloroquine or hydroxychloroquine for prevention and treatment of COVID - 19." The
Cochrane database ofsystematic reviews vol. 2, 2 (2021).
15
   https://www.medpagetoday.com/infectiousdisease/covidl 9/90536
16
   https://search.dca.ca.gov/details/8002/G/70224/595d067c562f072a5e7b25c913b285cf
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Prior Related Legislation. SB 806 (Roth, Chapter 649, Statutes of2021) extended the sunset
date for the MBC until January 1, 2023 and made numerous reforms to the Medical Practice Act.

AB 1909 (Gonzalez) would have provided that performing an examination on a patient for the
purpose of determining whether the patient is a virgin constitutes unprofessional conduct. This
bill was not presented for a vote in this committee.

AB 1278 (Nazarian) would have provided that failing to post an Open Payments database notice
constitutes unprofessional conduct. This bill was held on the Assembly Appropriations
Committee's suspense file.

SB 1448 (Hill, Chapter 570, Statutes of2018) requires physicians and surgeons, osteopathic
physicians and surgeons, podiatrists, acupuncturists, chiropractors and naturopathic doctors to
notify patients of their probationary status beginning July 1, 2019.

ARGUMENTS IN SUPPORT:

The California Medical Association (CMA) is sponsoring this bill. According to the CMA:
"The COVID - 19 pandemic has unfortunately led to increasing amounts of misinformation and
disinformation related to the disease including how the virus is transmitted, promoting untested
treatments and cures, and calling into question public health efforts such as masking and
vaccinations. Many health professionals, including physicians, have been the culprits of this
misinformation and disinformation effort." The CMA goes on to argue that "while the MBC
may have the ability to discipline licensees for unprofessional conduct under Business and
Professions Code section 2234, AB 2098 makes clear that the MBC has the statutory authority to
take such actions against physicians that spread COVID - 19 misinformation or disinformation."

The American Academy of Pediatrics, California is in support of this bill, writing: "Licensed
physicians possess a high degree of public trust and therefore have a powerful platform in
society. When they choose to spread inaccurate information, physicians contradict their
responsibilities and further erode public trust in the medical profession. By passing this bill,
California will demonstrate its unwavering support for a scientifically informed populous to
protect ourselves from COVID- 19."

ARGUMENTS IN OPPOSITION:

A Voice for Choice Advocacy opposes this bill, writing: "While we agree that physicians and
surgeons should be disciplined for maliciously sharing misinformation and disinformation, there
are already measures in place for the California Medical Board to discipline for such offenses.
Furthermore, AB 2098 is overly broad and would be impossible to implement because there is no
definition and no established 'standard of care' or 'contemporary scientific consensus' for
treating SARS -COV-2/COVID- 19."

Californians for Good Governance opposes this bill "based on concerns about its
unconstitutional restrictions on free speech." The organization argues that "while the state may
be able to claim that providing the public with accurate information regarding Covid- 19 is a
compelling interest, it cannot possibly argue that the blunt weapon that AB 2098 represents is
narrowly tailored to that interest." The organization further states that "in a country such as ours,
which was established on the foundation of civil liberties such as free speech, the truth is
something hashed out in the marketplace of ideas, rather than dictated by the government."
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POLICY ISSUE(S) FOR CONSIDERATION:

Lack ofDefinitions. The intent of this bill is made clear in the subdivision providing that "it
shall constitute unprofessional conduct for a physician and surgeon to disseminate or promote
misinformation or disinformation related to COVID- 19." However, the terms "misinformation,"
"disinformation," and "disseminate" are not defined. Provisions outlining what factors the MBC
or OMBC must consider prior to bringing a disciplinary action do suggest how false information
should be deemed enforceable under the bill, with some of the language taken directly from
definitions provided by the CDC on its public guidance regarding misinformation and
disinformation. 17 To ensure greater clarity with regards to how this bill should be interpreted and
implemented by the MBC and the OMBC within their existing enforcement architecture, the
author should consider amendments restructuring the bill to provide for clearer definitions.

Constitutionality. Many of the opposition arguments regarding this bill have revolved around the
concept of "free speech" and whether a state law penalizing physicians for conveying
information determined to be false is lawful under the United States Constitution. It is certainly
true that the First Amendment prohibits laws "abridging the freedom of speech." However, the
Supreme Court of the United States has repeatedly confirmed that this constitutional right is not
absolute.

A key factor in determining whether a statute like the one proposed in this bill violates the First
Amendment is whether the law would in fact regulate professional speech as opposed
professional conduct. The United States Court of Appeals for the Ninth Circuit discussed this
distinction extensively in its decision upholding the constitutionality of California's ban on
licensed health professionals providing therapies intended to change a patient's sexual
orientation or identity. 18 That decision noted that "doctor-patient communications about medical
treatment receive substantial First Amendment protection, but the government has more leeway
to regulate the conduct necessary to administering treatment itself."

To illustrate the critical difference between the regulation of professional speech versus
professional conduct, the Ninth Circuit suggested that the issue be viewed "along a continuum."
First, the Ninth Circuit stated that "where a professional is engaged in a public dialogue, First
Amendment protection is at its greatest. Thus, for example, a doctor who publicly advocates a
treatment that the medical establishment considers outside the mainstream, or even dangerous, is
entitled to robust protection under the First Amendment-just as any person is-even though the
state has the power to regulate medicine."

The Ninth Circuit then suggested that "at the midpoint of the continuum, within the confines of a
professional relationship, First Amendment protection of a professional' s speech is somewhat
diminished." As an example, the decision cited Planned Parenthood v. Casey, in which the
Supreme Court upheld a requirement that doctors disclose truthful, nonmisleading information to
patients about certain risks of abortion. In this case, the Supreme Court ruled that "the
physician's First Amendment rights not to speak are implicated, but only as part of the practice
of medicine, subject to reasonable licensing and regulation by the State."19



17
   https://www.cdc.gov/vaccines/covid- 19/health-departments/addressing-vaccine-misinformation.html
18
   Pickup v. Brown, 728 F.3d 1042 (2015).
19
   Planned Parenthood ofSoutheastern Pennsylvania v. Casey, 505 U.S. 833, 884 (1992).
                                                                                                      Exhibit B
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The Ninth Circuit ultimately ruled that California's ban on gay conversion therapy fell at the far
end of the continuum, in that it consisted of "the regulation of professional conduct, where the
state's power is great, even though such regulation may have an incidental effect on speech."
The ruling explained that while much of the practice of medicine requires speech to effectuate
treatment and therapy in the form of prescriptions, recommendations, and counseling, this is
incidental to the regulation of professional conduct, which is the core purpose of all state and
federal license requirements. The Supreme Court declined to grant review of the Ninth Circuit's
decision, and the California law remains in effect.

A recent decision issued by the Supreme Court in National Institute ofFamily and Life
Advocates v. Becerra-which declared that a California law requiring crisis pregnancy centers to
make disclosures about pregnancy options was unconstitutional-has frequently been cited as a
key precedent for determining whether state laws implicating professional speech are
impermissible under the First Amendment. 20 In that decision, the Supreme Court declined to
recognize the Ninth Circuit's treatment of "professional speech" as a separate category afforded
less protection than other forms of speech. However, the Supreme Court did affirm that "states
may regulate professional conduct, even though that conduct incidentally involves speech."

Whether this bill would be considered constitutionally valid would in large part depend on how it
is interpreted and enforced. If the MBC or the OMBC were to take action against a physician for
statements made to the general public about COVID - 19 through social media or at a public
protest, a court may find that this speech falls at the end of the spectrum where the First
Amendment's protections are strongest. However, if a physician were to be subjected to formal
discipline for communications made to a patient under their care in the form of treatment or
advice, this would quite likely be considered professional conduct that may be more heavily
regulated through the state's police power.

AMENDMENTS:

1) To clarify the meaning of terms used in the bill to align with the boards' existing authority to
       regulate professional conduct, insert the following provisions to the definitions contained in
       subdivision (c):

           (3) "Misinformation" means false information that is contradicted by contemporary
           scientific consensus to an extent where its dissemination constitutes gross negligence by
           the licensee.

           (4) "Disinformation" means misinformation that the licensee deliberately disseminated
           with malicious intent or an intent to mislead.

           (5) "Disseminate" means the communication of information from the licensee to a
           patient under the licensee's care in the form of treatment or advice.

2) To reflect that much of the language currently provided as factors for a board to consider has
       been relocated to the bill's definitions, strike the current subdivision (b) and insert the
       following:




20
     National Institute ofFamily and Life Advocates v. Becerra, 585 U.S._ (2018).
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       (b) Prior to bringing a disciplinary action against a licensee under this section, the board
       shall consider both whether the licensee departed from the applicable standard of care
       and whether the misinformation or disinformation resulted in harm to patient health.

3) To add a severability clause to protect the enforceability of the bill following any adverse
   ruling on the validity of a certain provision or application, insert a new Section 3 as follows:

       The provisions of this act are severable. If any provision of this act or its application is
       held invalid, that invalidity shall not affect other provisions or applications that can be
       given effect without the invalid provision or application.

4) To update statistics in the bill's findings and declarations, amend Section 1 to replace
   "5,000,000" with "6,000,000 and "75,000" with "90,000."

REGISTERED SUPPORT:

California Medical Association (Sponsor)
American Academy of Pediatrics, California
American College of Obstetricians and Gynecologists District IX
California Chapter of the American College of Emergency Physicians
California Podiatric Medical Association
California Rheumatology Alliance
California Society of Anesthesiologists
Children's Specialty Care Coalition
Families for Opening Carlsbad Schools
Numerous individuals

REGISTERED OPPOSITION:

A Voice for Choice Advocacy
California Health Coalition Advocacy
Californians for Good Governance
Catholic Families 4 Freedom CA
Central Coast Health Coalition
Children's Health Defense California Chapter
Concerned Women for America
Depression and Bipolar Support Alliance California
Educate. Advocate.
Frederick Douglass Foundation of California
Homewatch Caregivers of Huntington Beach
Nuremberg 2.0 LTD.
Pacific Justice Institute
Physicians for Informed Consent
Protection of the Educational Rights for Kids
Restore Childhood
Siskiyou Conservative Republicans
Stand Up Sacramento County
Numerous individuals

Analysis Prepared by: Robert Sumner / B. & P. / (916) 319-3301
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ASSEMBLY THIRD READING
AB 2098 (Low)
As Amended April 20, 2022
Majority vote

SUMMARY
Expressly provides that the dissemination of misinformation or disinformation related to
COVID-19 by physicians and surgeons constitutes unprofessional conduct.

Major Provisions
1) Provides that the dissemination or promotion of misinformation or disinformation related to
   COVID-19 by a physician and surgeon constitutes unprofessional conduct.

2) Includes false or misleading information regarding the nature and risks of the COVID-19
   virus, its prevention and treatment, and the development, safety, and effectiveness of
   COVID-19 vaccines as types of misinformation or disinformation that could be disseminated.

3) Requires the Medical Board of California (MBC) or Osteopathic Medical Board of California
   (OMBC) to consider both whether the licensee departed from the applicable standard of care
   and whether the misinformation or disinformation resulted in harm to patient health prior to
   bringing a disciplinary action against a licensee for disseminating misinformation or
   disinformation:

4) Defines "physician and surgeon" as a person licensed by either the MBC or the OMBC.

5) Defines "misinformation" as false information that is contradicted by contemporary scientific
   consensus to an extent where its dissemination constitutes gross negligence by the licensee.

6) Defines "disinformation" as misinformation that the licensee deliberately disseminated with
   malicious intent or an intent to mislead.

7) Defines "disseminate" as the conveyance of information from the licensee to a patient under
   the licensee's care in the form of treatment or advice.

8) Provides that violators of the bill's provisions are not guilty of a misdemeanor.

9) Makes various findings and declarations in support of this bill.

COMMENTS
COVID-19 Pandemic and Vaccines. To date, over 984,000 people have died of COVID-19 in
the United States, including approximately 90,000 Californians. On March 4, 2020, Governor
Gavin Newsom proclaimed a State of Emergency as a result of the impacts of the COVID-19
public health crisis, and on March 19, 2020, the Governor formally issued a statewide "stay at
home order," directing Californians to only leave the house to provide or obtain specified
essential services. Subsequent guidance from the State Public Health Officer expressly
exempted from that order various professionals regulated by the Department of Consumer
Affairs (DCA), including physicians and surgeons providing essential care.


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On March 30, 2020, Governor Newsom announced an initiative to "expand California's health
care workforce and recruit health care professionals to address the COVID-19 surge" and signed
Executive Order N-39-20. This executive order established a waiver request process under the
DCA and included other provisions authorizing the waiver of licensing, certification, and
credentialing requirements for health care providers. Through this waiver process, the DCA
issued a series of waivers of law to authorize various healing arts professionals to order and
administer COVID-19 vaccines. These waivers aligned with similar authority granted federally
under the Public Readiness and Emergency Preparedness (PREP) Act for Medical
Countermeasures Against COVID-19.

Vaccines are regulated and overseen by multiple federal entities responsible for ensuring their
safety and efficacy. The federal Food and Drug Administration (FDA) is initially responsible for
approving new drugs, determining both that they are safe to administer and that their
recommended use is clinically supported. During states of emergency, the FDA may expedite
their review through the Emergency Use Authorization (EUA) process to accelerate the
availability of new immunizations or treatments. Currently, three vaccines have been approved
through the EUA process for COVID-19. These vaccines have additionally been reviewed and
found safe by national experts participating in a Western States Scientific Safety Review
Workgroup. Data has continued to show that the risks of infection, hospitalization, and death for
vaccinated individuals are dramatically lower than for those who have not been vaccinated.

Misinformation and Disinformation. This bill is intended to target three types of false or
misleading information relating to the COVID-19 pandemic. First, the language refers to
nonfactual information regarding "the nature and risks of the virus" for example, misleadingly
comparing COVID-19 to less serious conditions or inaccurately characterizing the deadliness of
the disease. Second, the bill seeks to address false statements regarding its "prevention and
treatment" this would presumably include the promotion of treatments and therapies that have
no proven effectiveness against the virus. The third category is for misinformation or
disinformation regarding "the development, safety, and effectiveness of COVID-19 vaccines."

Public skepticism and misunderstanding of diseases, treatments, and immunizations is not unique
to COVID-19. The earliest known group formed to oppose vaccination programs, the National
Anti-Vaccination League, was established in the United Kingdom in 1866 following a series of
violent protests against mandatory smallpox immunizations in the Vaccination Act of 1853. In
1918, conspiracy theories were circulated that the Spanish Flu pandemic was a deliberate act of
biological warfare, spread through aspirin manufactured by German company Bayer.

What has been historically unprecedented about the dissemination of misinformation and
disinformation throughout the COVID-19 pandemic is the omnipresence of media coverage and
the prevalence of social media. False information can easily be spread to millions within days or
even hours of it being created. It can become challenging for a population already feeling
overloaded with complex information to differentiate between thoroughly researched, accurate
reporting and information that is oversimplified, unproven, or patently false.

A substantial factor in the spread of false information is a phenomenon known as "confirmation
bias." When individuals hold a preexisting belief or suspicion, they will often unconsciously
seek out information to validate that predisposition and filter out contradictory evidence. The
persistence of modern media exposure and the internet has exacerbated this effect, as information
seeming to support virtually any viewpoint or understanding can now easily be found through the

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use of search engines and social media. Many websites further exacerbate the issue of
confirmation bias by algorithmically delivering consistent information to users who have
demonstrated a pattern of belief or ideology.

The role of physicians and other health professionals in legitimizing false information during the
COVID-19 pandemic has presented serious implications for public safety. For example, the
federal Centers for Disease Control and Prevention (CDC) has for decades been recognized as
the United States government's primary agency for protecting Americans through expert research
and advice related to the control and prevention of communicable disease. The CDC has
consistently warned Americans about the threat of COVID-19 and strongly encouraged
vaccination. However, throughout the pandemic, many individuals who are predisposed toward
skepticism of the government and incredulity toward vaccines have sought to validate those
views, despite unambiguous guidance to the contrary from leading health experts.

As a result, health practitioners whose views on COVID-19 and immunization against it are
within the extreme minority for their profession are armed with a disproportionately loud voice
in the public discourse. Antigovernment cynics and vaccine skeptics cohere to the opinions of
those few physicians who will reinforce their beliefs as they seek to appeal to authority in service
of their confirmation bias. The effect of this is that a relatively small group of public health
contrarians who are licensed as physicians will be afforded the same, if not more, credibility as
long-trusted public institutions like the CDC, the FDA, and the American Medical Association,
even if those physicians do not specialize in epidemiology or infectious disease prevention.

The incongruity of this reasoning is frequently rationalized in part through conspiracy theories
about the medical establishment. This is not novel. When allopathic medicine first achieved
dominance during the Progressive Era, there were many who vilified the medical system as
financially motivated, accusing "modern medicine men" of oppressing natural therapies in order
to profit from a monopoly on health care practice. Other related conspiracy theories frequently
involve the United States government, which has been accused of everything from inventing or
exaggerating the pandemic to suppressing natural remedies, or even using COVID-19 vaccines
as a clandestine method for implanting microchips into Americans.

Role of State Medical Boards. Physicians and surgeons in California are regulated by one of two
entities: the Medical Board of California (MBC) or the Osteopathic Medical Board of California
(OMBC). The MBC licenses and regulates about 153,000 physicians while the OMBC licenses
and regulates slightly over 12,000. Despite receiving different forms of medical education and
being overseen by separate boards, the essential scope of practice for these two categories of
licensees are virtually identical.

In July of 2021, the Federation of State Medical Boards (FSMB) issued a statement positioned as
being "in response to a dramatic increase in the dissemination of COVID-19 vaccine
misinformation and disinformation by physicians and other health care professionals on social
media platforms, online and in the media." The FSMB warned that physicians who engage in
the spread of false information related to COVID-19 were jeopardizing their licenses to practice
medicine. While physicians are subject to discipline only by boards located in states where they
hold a license, the FSMB's statement was viewed as a serious warning to doctors that they risked
disciplinary action if they engaged in spreading inaccurate information.

Following the FSMB's statement, some state medical boards appeared poised to take action
against licensees found to be spreading misinformation or disinformation. Tennessee's Board of
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Medical Examiners adopted the FSMB's statement as their own. However, in response, the
state's Republican legislature threatened to disband the board if it sought to take any such action
against a physician. Legislation in at least fourteen states has been introduced to prevent medical
boards from holding physicians who spread false information accountable in accordance with the
FSMB's guidance.

In contrast to legislative action taken in those states, this bill would seek to confirm that in
California, physicians who disseminate COVID-19 misinformation or disinformation are indeed
subject to formal discipline. The bill would expressly establish that such dissemination would
constitute "unprofessional conduct" a term used prolifically in the Medical Practice Act as a
general description of numerous forms of conduct for which disciplinary action may be taken.
The MBC or OMBC would be required to consider multiple factors prior to filing an accusation,
but would ultimately be authorized to take enforcement action against physicians who have used
their licenses to jeopardize public health and safety through the spread of false information.

It is certainly meaningful that this bill would establish as a matter of California law that
physicians are subject to discipline for spreading false information. However, it is more than
likely that the MBC and OMBC are both already fully capable of bringing an accusation against
a physician for this type of misconduct. For example, the Medical Practice Act includes "gross
negligence" and "repeated negligent acts" within the meaning of unprofessional conduct,
representing situations where the physician deviated from the standard of care in the opinion of
the MBC and its expert medical reviewers.

If, for example, a physician were to advise patients to inject disinfectant as a way of treating
COVID-19 as former President Trump once did, resulting in a sharp rise in reported incidents
of misusing bleach and other cleaning products disseminating that "misinformation" would
almost certainly be considered negligent care subject to discipline. Whether a case of spreading
misinformation is sufficient to bring an action for gross negligence would be evaluated using the
MBC's expert reviewer guidelines, which provide that "the determining factor is the degree of
departure from the applicable standard of care." Similarly, it is arguable that spreading
"disinformation" as commonly defined would constitute an "act of dishonesty or corruption"
also statutorily included within the Medical Practice Act's meaning of unprofessional conduct.

Those in opposition to this bill have expressed concern that the MBC would overzealously
prosecute doctors for expressing views that are outside the mainstream but not indisputably
unreasonable based on the physician's research and training. This apprehension cannot easily be
reconciled with persistent criticisms levied against the MBC by the Legislature and patient safety
advocates, who have repeatedly reproved the board for its underwhelming enforcement
activities. Major news editorials have pointed out that the MBC only takes formal disciplinary
action in about three percent of cases, and that more than 80 percent of complaints are dismissed
without investigation. As the Legislature persists in its admonishment of the MBC for failing to
take aggressive action against physicians who commit unprofessional conduct, it would appear
dubious that the board would excessively utilize the authority expressly provided by this bill.

It stands to reason that Californians who have demonstrated suspicion toward both the medical
establishment and their government would be slow to trust the MBC, with a majority of its
members consisting of physicians appointed by the Governor. However, the degree of enmity
recently exhibited by physicians and others opposed to COVID-19 prevention policies could be
viewed as disturbing. In December of 2021, it was reported that representatives of an anti-

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vaccination organization called America's Frontline Doctors had stalked and intimidated Kristina
Lawson, President of the MBC. This harassment was escalated in April of 2022 when that same
organization "released a 21-minute video that depicts Lawson in Nazi regalia, a whip in her hand
and swastika on her shoulder, and shows a clip of the garage confrontation validating Lawson's
description."

America's Frontline Doctors was founded by Dr. Simone Gold, who holds an active license in
California as a physician. Dr. Gold and her organization have vociferously promoted
hydroxychloroquine as a COVID-19 treatment, despite evidence increasingly showing it to be
ineffective and potentially unsafe. Dr. Gold has engaged in multiple campaigns to stoke public
distrust in COVID-19 vaccines, characterizing them as "experimental" despite numerous safety
and efficacy trials successfully confirming their safety and efficacy. Dr. Gold spoke at a rally
held in conjunction with the attempted insurrection on the United States Capitol on January 6,
2021; she was arrested and subsequently pleaded guilty to a misdemeanor relating to that event.

Despite what would appear to be repeated conduct perpetrated by Dr. Gold involving the
dissemination of false information regarding COVID-19, Dr. Gold's license remains active with
the MBC and there appears to be no record of any disciplinary action taken against her. Given
the air of legitimacy she sustains from her status as a licensed physician, Dr. Gold likely serves
as an illustrative example of the type of behavior that the author of this bill seeks to
unequivocally establish as constituting unprofessional conduct for physicians in California.
Regardless of whether similar authority is already available to the MBC through other
enforceable provisions in the Medical Practice Act, it is understandable that the author desires to
make this authority explicit and confirm that doctors licensed in California who disseminate
misinformation or disinformation should be held fully accountable.

According to the Author
"AB 2098 is crucial to addressing the amplification of misinformation and disinformation related
to the COVID-19 pandemic. Licensed physicians, doctors, and surgeons possess a high degree of
public trust and therefore must be held accountable for the information they spread. Providing
patients with accurate, science-based information on the pandemic and COVID-19 vaccinations
is imperative to protecting public health. By passing this legislation, California will show its
unwavering support for a scientifically informed populous to protect ourselves from COVID-
19."

Arguments in Support
The California Medical Association (CMA) is co-sponsoring this bill. According to the CMA:
"The COVID-19 pandemic has unfortunately led to increasing amounts of misinformation and
disinformation related to the disease including how the virus is transmitted, promoting untested
treatments and cures, and calling into question public health efforts such as masking and
vaccinations. Many health professionals, including physicians, have been the culprits of this
misinformation and disinformation effort."

ProtectUS is co-sponsoring this bill, writing: "Licensed physicians possess a high degree of
public trust and therefore have a powerful platform in society. They have a professional and
ethical obligation to counsel and treat patients based not on their own opinion or beliefs, but on
medical guidelines and peer-reviewed scientific evidence. When they choose to spread
inaccurate information and lend credibility to conspiracy theories, physicians discourage patients
from accessing life-saving vaccines. And their actions disproportionately affect the most

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vulnerable members of society - those who have the least access to credible information, and the
fewest resources available should they become sick."

Arguments in Opposition
A Voice for Choice Advocacy opposes this bill, writing: "While we agree that physicians and
surgeons should be disciplined for maliciously sharing misinformation and disinformation, there
are already measures in place for the California Medical Board to discipline for such offenses.
Furthermore, AB 2098 is overly broad and would be impossible to implement because there is no
definition and no established 'standard of care' or 'contemporary scientific consensus' for treating
SARS-COV-2/COVID-19."

Californians for Good Governance opposes this bill "based on concerns about its
unconstitutional restrictions on free speech." The organization argues that "while the state may
be able to claim that providing the public with accurate information regarding Covid-19 is a
compelling interest, it cannot possibly argue that the blunt weapon that AB 2098 represents is
narrowly tailored to that interest." The organization further states that "in a country such as ours,
which was established on the foundation of civil liberties such as free speech, the truth is
something hashed out in the marketplace of ideas, rather than dictated by the government."

FISCAL COMMENTS
According to the Assembly Appropriations Committee, no costs to the MBC, which currently
implements an allegation code for COVID-19-related complaints and tracks discipline related to
unprofessional conduct, meeting the requirements of this bill; and minor and absorbable costs to
the OMBC.

VOTES
ASM BUSINESS AND PROFESSIONS: 12-5-2
YES: Berman, Bloom, Mia Bonta, Gipson, Irwin, Lee, McCarty, Medina, Mullin, Ward, Ting,
Akilah Weber
NO: Flora, Chen, Cunningham, Megan Dahle, Fong
ABS, ABST OR NV: Grayson, Arambula

ASM APPROPRIATIONS: 12-4-0
YES: Holden, Bryan, Calderon, Carrillo, Mike Fong, Gabriel, Eduardo Garcia, Jones-Sawyer,
Quirk, Robert Rivas, Akilah Weber, Wilson
NO: Bigelow, Megan Dahle, Davies, Fong


UPDATED
VERSION: April 20, 2022

CONSULTANT: Robert Sumner / B. & P. / (916) 319-3301                                  FN: 0002384




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               EXHIBIT D
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                  SENATE COMMITTEE ON
    BUSINESS, PROFESSIONS AND ECONOMIC DEVELOPMENT
                             Senator Richard Roth, Chair
                                2021 - 2022 Regular

Bill No:         AB 2098                          Hearing Date:     June 27, 2022
Author:          Low
Version:         June 21, 2022
Urgency:         No                               Fiscal:           Yes
Consultant:      Sarah Mason

                Subject: Physicians and surgeons: unprofessional conduct


SUMMARY: Makes disseminating misinformation, as defined, or disinformation related
to COVID-19, including false or misleading information regarding the nature and risks of
the virus, its prevention and treatment; and the development, safety, and effectiveness
of COVID-19 vaccines, by a physician and surgeon unprofessional conduct.

Existing law:

1) Establishes various practice acts in the Business and Professions Code (BPC)
   governed by various boards within the Department of Consumer Affairs (DCA) which
   provide for the licensing and regulation of health care professionals. (Business and
   Professions Code (BPC) §§ 500 et seq.)

2) Regulates the practice of medicine under the Medical Practice Act (Act), which
   establishes the Medical Board of California (MBC) to administer and enforce the Act.
   (Business and Professions Code (BPC) § 2000 et. seq.)

3) Enacts the Osteopathic Act, which provides for the licensure and regulation of
   osteopathic physicians and surgeons. (BPC §§ 2450 et seq.)

4) Provides that protection of the public shall be the highest priority for both the MBC
   and the Osteopathic Medical Board of California (OMBC) in exercising their
   respective licensing, regulatory, and disciplinary functions, and that whenever the
   protection of the public is inconsistent with other interests sought to be promoted,
   the protection of the public shall be paramount. (BPC § 2001.1; § 2450.1)

5) Provides that all proceedings against a licensee for unprofessional conduct, or
   against an applicant for licensure for unprofessional conduct or cause, shall be
   conducted in accordance with the Administrative Procedure Act. (BPC § 2230)

6) Establishes various violations that constitute unprofessional conduct. (BPC §§ 725
   et. seq)

7) Requires the MBC to take action against any licensee who is charged with
   unprofessional conduct, which includes, but is not limited to, the following:

   a) Violating or aiding in the violation of the Medical Practice Act.

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   b) Gross negligence.

   c) Repeated negligent acts.

   d) Incompetence.

   e) The commission of any act involving dishonesty or corruption that is substantially
      related to the qualifications, functions, or duties of a physician.

   f) Any action or conduct that would have warranted the denial of a certificate.

   g) The failure by a physician, in the absence of good cause, to attend and
      participate in an investigatory interview by the MBC. (BPC § 2234)

8) Provides that a physician shall not be subject to discipline solely on the basis that
   the treatment or advice they rendered to a patient is alternative or complementary
   medicine if that treatment or advice was provided after informed consent and a
   good-faith prior examination; was provided after the physician provided the patient
   with information concerning conventional treatment; and the alternative
   complementary medicine did not cause a delay in, or discourage traditional
   diagnosis of, a condition of the patient, or cause death or serious bodily injury to the
   patient. (BPC § 2234.1)

This bill:

1) Provides that it is unprofessional conduct for a physician and surgeon to
   disseminate misinformation or disinformation related to COVID-19, including:

   a) False or misleading information about the nature and risks of the virus,

   b) COVID-19 prevention and treatment; and

   c) The development, safety, and effectiveness of COVID-19 vaccines.

2) Defines the following for the purposes of 1) and 2):

    a) "Board" means the MBC or OMBC.

    b) "Disinformation" means misinformation that the licensee deliberately
       disseminated with malicious intent or an intent to mislead.

    c) "Disseminate" means the conveyance of information from the licensee to a
       patient under the licensee's care in th e form of treatment or advice.

    d) "Misinformation" means false information that is contradicted by contemporary
       scientific consensus to an extent where its dissemination constitutes gross
       negligence by the licensee.

    e) "Physician and surgeon" means person lice nsed by the MBC or OMBC.

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3) Specifies that violators of these provisions are not guilty of a misdemeanor.

4) Makes findings and declarations that:

   a) The global spread of the SARS-CoV-2 coronavirus, or COVID-19, has claimed
      the lives of over 6,000,000 people worldwide, including nearly 90,000
      Californians.

   b) Data from the federal Centers for Disease Control and Prevention (CDC) shows
      that unvaccinated individuals are at a risk of dying from COVID-19 that is 11
      times greater than those who are fully vaccinated.

   c) The safety and efficacy of COVID-19 vaccines have been confirmed through
      evaluation by the federal Food and Drug Administration (FDA) and the vaccines
      continue to undergo intensive safety monitoring by the CDC.

   d) The spread of misinformation and disinformation about COVID-19 vaccines has
      weakened public confidence and placed lives at serious risk.

   e) Major news outlets have reported that some of the most dangerous propagators
      of inaccurate information regarding the COVID-19 vaccines are licensed health
      care professionals.

   f) The Federation of State Medical Boards has released a statement warning that
      physicians who engage in the dissemination of COVID-19 vaccine misinformation
      or disinformation risk losing their medical license, and that physicians have a
      duty to provide their patients with accurate, science-based information.

   g) In House Resolution No. 74 of the 2021 22 Regular Session, the California State
      Assembly declared health misinformation to be a public health crisis, and urged
      the State of California to commit to appropriately combating health
      misinformation and curbing the spread of falsehoods that threaten the health and
      safety of Californians.

FISCAL EFFECT: According to the Assembly Committee on Appropriations, the bill will
not result in costs to MBC, which currently implements an allegation code for COVID-
19-related complaints and tracks discipline related to unprofessional conduct, meeting
the requirements of this bill. The Committee noted that the bill will result in minor and
absorbable costs to OMBC.

COMMENTS:

1. Purpose. The bill is sponsored by the California Medical Association. According to
   the Author, "AB 2098 is crucial to addressing the amplification of misinformation and
   disinformation related to the COVID-19 pandemic. Licensed physicians, doctors,
   and surgeons possess a high degree of public trust and therefore must be held
   accountable for the information they spread.

    Providing patients with accurate, science-based information on the pandemic and
    COVID-19 vaccinations is imperative to protecting public health. By passing this
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    legislation, California will demonstrate its unwavering support for a scientifically
    informed populous to protect ourselves from COVID- 19."

2. Background.

    COVID-19 Misinformation and Disinformation. In March 2020, Governor Newsom
    declared a State of Emergency due to the COVID-19 pandemic that was beginning
    to spread widely. Center for Disease Control (CDC) and State Public Health
    Officials began issuing regular updates to inform the state on the long and short
    impacts of the virus, best ways to prevent spreading and contracting the virus which
    include wearing surgical and N-95 masks and receiving the COVID-19 vaccine, and
    awareness of symptoms. As the CDC and State Public Health officials began to
    learn more about the virus, spread, and overall impacts, the information was
    disseminated to doctors to help patients survive the virus if contracted, prevent
    patients from getting the virus, and cope with long term side effects now known as
    "long COVID". During the course of the pandemic, all healthcare professionals
    spent countless days treating patients and learning about the virus.

    In December 2020, an emergency-approved COVID-19 vaccine began to roll out
    first to the aging population and healthcare professionals and eventually to all
    adults, and now all children. While scientists began working on creating the vaccine,
    misinformation and disinformation spread widely. CDC makes the distinction that
    misinformation is shared by people who not intend harm and disinformation is false
    information to deliberately disseminate with malice. This bill makes a distinction, but
    does not differentiate consequences for doctors.

    Misinformation has resulted in less than desired vaccine rates, continued
    unnecessary spread and risk to communities. As of June 21, 2022, only 75.6% of
    people 5 and older are fully vaccinated 1. Yale Medicine reports that a community
    needs 95% of the population to reach herd immunity. Part of the low vaccine rate is
    attributed to misinformation causing fear about potential side effects. Vaccine
    hesitancy is directly linked to misinformation.2 Researchers at the Center for Health
    Security at the Johns Hopkins Bloomberg School of Public Health recently
    estimated that 2 million to 12 million people in the US were unvaccinated against
    COVID-19 because of misinformation or disinformation.

    In November 21, the American Medical Association adopted a new policy to combat
    misinformation because "[health professional] using their professional license to
    validate the disinformation they are spreading has seriously undermined public
    health efforts 3 The CDC and State Public Health Officials have published a myths
    and facts page to clarify misinformation. Myths the CDC is actively informing
    Americans about include: vaccines do not contain microchips, the vaccine will not
    make you magnetic, and the vaccine will not change your DNA. Origination of
    misinformation is not clear; however, the White House reported in 2021 that much



1 https://covid19.ca.gov/vaccination-progress-data/#overview
2 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8528483/
3 https://www.ama-assn.org/press-center/press-releases/ama-adopts-policy-combat-disinformation-

health-care-professionals
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    of the COVID-19 vaccine misinformation began with a number of online social
    media users.

    The CDC and State Public Health Officials are generally recognized as the leading
    experts in issue guidance for all public health matters which in the recent past has
    included sharing information on heart disease, diabetes, and communicable
    diseases. However, the CDC and public health officials' knowledge and public trust
    has been questioned. In peer-reviewed journal, a study determined that
    "prophylaxis of COVID-19 misinformation might be achieved by taking concrete
    steps to improve trust in science and scientists, such as building understanding of
    the scientific process and supporting open science initiatives. 4 Doctors providing
    accurate information would serve as an imperative piece of this recommendation to
    combat current misinformation.

    In Florida, a doctor filed a complaint the Florida Department of Health allegedly a
    doctor was spreading misinformation about the safety and effectiveness of the
    COVID-19 vaccine and the use of masks for prevention. Ultimately there was no
    action taken against the doctor accused of spreading misinformation because state
    law does not prohibit misinformation or disinformation from doctors. 5 Other reports
    of physicians providing false information remains an issue.

    Physicians and healthcare professionals play a critical role in keeping communities
    healthy. A physician's recommendation and information sharing will educate and
    inform decisions made by their patients. As such, providing accurate information will
    ultimately impact patient's health. NPR reported that, "The Center for Countering
    Digital Hate, which tracks vaccine misinformation online, says that even though the
    number of doctors involved in spreading this sort of bad information is tiny, they're
    having an outsized influence. 6 This bill would explicating hold physicians
    accountable for providing misinformation or disinformation about COVID-19
    vaccines. This bill does not, however, include other healthcare professionals which
    have also been reported as spreading misinformation and disinformation.

    Physician and surgeon enforcement. The enforcement process begins with a
    complaint. Complaints are received from various sources, including the public,
    generated internally by MBC or OMBC, or based on information MBC and OMBC
    receive from various entities through mandatory reports to the boards.

    MBC licensee complaints are received by the Central Complaint Unit, which starts
    the process of determining next steps for a complaint. All complaints that pertain to
    treatment provided by a physician require patient medical records to be obtained.
    MBC reports that it is "subject to significant limitations in its authority to inspect and
    review medical records in the possession of a licensee. Generally, the Board must
    obtain patient consent prior to requesting records from a licensee. However,
    obtaining patient consent (for example, in cases involving inappropriate prescribing
    of opioids) may be difficult. If the patient refuses to give consent, then the Board

4 https://bmcpublichealth.biomedcentral.com/articles/10.1186/s12889-020-10103-x
5 https://jamanetwork.com/journals/jama/fullarticle/2789369
6 https://www.npr.org/sections/health-shots/2021/09/14/1035915598/doctors-covid-misinformation-

medical-license
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   must establish good cause to issue a subpoena and may have to file a motion to
   compel in superior court to enforce the subpoena. Without quick access to records,
   investigations take longer to complete. In some cases, the Board is required to
   close complaints because its investigation cannot proceed without relevant medical
   records." Complaints regarding quality of care are received and reviewed by
   OMBC's Complaint Unit (CU) in Sacramento by a medical consultant. The CU
   medical consultant determines whether the quality of care issues presented in the
   complaint and supporting documents warrant investigation.

   Pursuant to Business and Professions Code (BPC) Section 2220.08, before a
   quality of care complaint for MBC licensees is referred for further investigation, it
   must be reviewed by one or more medical experts with the pertinent education,
   training, and expertise to evaluate the specific standards of care issues raised by
   the complaint to determine if further field investigation is required. When a medical
   reviewer determines that a complaint warrants referral for further investigation, CCU
   transfers the complaint to the Health Quality Investigation Unit (HQIU) in the DCA's
   Division of Investigation (DOI) which handles investigations for a number of health
   related boards within DCA to be investigated by a sworn investigator, a peace
   officer. There are 12 HQIU field offices located throughout California that handle
   these investigations.

   MBC's complaint priorities are outlined in BPC section 2220.05 in order to ensure
   that physicians representing the greatest threat of harm are identified and
   disciplined expeditiously. MBC must ensure that it is following this section of law
   when investigating complaints, including complaints alleging the following as being
   the highest priority:

      • Gross negligence, incompetence, or repeated negligent acts that involve
         death or serious bodily injury to one or more patients, such that the physician
         and surgeon represents a danger to the public

      • Drug or alcohol abuse by a physician and surgeon involving death or serious
         bodily injury to a patient

      • Repeated acts of clearly excessive prescribing, furnishing, or administering
         of controlled substances, or repeated acts of prescribing, dispensing, or
         furnishing of controlled substances without a good faith prior examination of
         the patient and medical reason therefor

      • Repeated acts of clearly excessive recommending of cannabis to patients for
         medical purposes, or repeated acts of recommending cannabis to patients
         for medical purposes without a good faith prior examination of the patient and
         a medical reason for the recommendation

      • Sexual misconduct with one or more patients during a course of treatment or
         an examination,

      • Practicing medicine while under the influence of drugs or alcohol; and

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       • Repeated acts of clearly excessive prescribing, furnishing, or administering
          psychotropic medications to a minor without a good faith prior examination of
          the patient and medical reason therefor.

   For complaints about physicians and surgeons that are subsequently investigated
   and meet the necessary legal prerequisites, a Deputy Attorney General (DAG) in
   the Office of the Attorney General (OAG) drafts formal charges, known as an
   "Accusation". A hearing before an Administrative Law Judge (ALJ) is subsequently
   scheduled, at which point settlement negotiations take place between the DAG, the
   physician and their attorney and MBC or OMBC staff. Often times these result in a
   stipulated settlement, similar to a plea bargain in criminal court, where a licensee
   admits to having violated charges set forth in the accusation, or admits that the
   MBC or OMBC could establish a factual and legal basis for the charges in the
   Accusation at hearing, and accepts penalties for those violations. If a licensee
   contests charges, the case is heard before an ALJ who subsequently drafts a
   proposed decision. This decision is reviewed by a panel of MBC members or the
   OMBC Board who either adopt the decision as proposed, adopt the decision with a
   reduced penalty or adopt the decision with an increased penalty. If probation is
   ordered, a copy of the final decision is referred t o MBC's Probation Unit or OMBC's
   probation monitor for assignment to an inspector who monitors the licensees for
   compliance with the terms of probation.

3. Arguments in Support. According to The American College of Obstetricians and
   Gynecologists
   _  _____       District
                     _ _IX  _(ACOG),
                               _ _ _"In response to the surge of misinformation, AB
   2098 will constitute unprofessional conduct for a physician and surgeon to spread
   disinformation related to COVID-19, including false or misleading information
   regarding the virus, its prevention and treatment; and development, safety, and
   effectiveness of COVID-19 vaccines.

   Licensed physicians possess a high degree of public trust and therefore have a
   powerful platform in society. When they choose to spread inaccurate information,
   physicians contradict their responsibilities and further erode public trust in the
   medical profession. By passing this bill, California will demonstrate its unwavering
   support for a scientifically informed populous to protect ourselves from COVID-19. "

   The -California
           - - -Medical
                     - - -Association
                             - - - - writes, "The COVID-19 pandemic has
   unfortunately led to increasing amounts of misinformation and disinformation related
   to the disease including how the virus is transmitted, promoting untested treatments
   and cures, and calling into question public health efforts such as masking and
   vaccinations. Many health professionals, including physicians, have been the
   culprits of this misinformation and disinformation effort.

   In July, the Federation of State Medical Boards (FSMB) released a statement1 in
   response to the dramatic increase in COVID-19 misinformation and disinformation.
   The FSMB stated, "physicians who generate and spread COVID -19 vaccine
   misinformation or disinformation are risking disciplinary actions by state medical
   boards, including the suspension and revocation of their medical licenses ... they
   also have an ethical and professional responsibility to practice medicine in the best
   interests of their patients and must share information that is factual, scientifically
   grounded and consensus-driven for the betterment of public health. Spreading
                                                                                    Exhibit D
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   inaccurate COVID-19 vaccine information contradicts that responsibility, threatens
   to further erode public trust in the medical professi on, and puts all patients at risk."

   While the MBC may have the ability to discipline licensees for unprofessional
   conduct under Business and Professions Code section 2234, AB 2098 makes clear
   that the MBC has the statutory authority to take such actions against physicians that
   spread COVID-19 misinformation or disinformation."

   The County Health Executives Association of California (CHEAC) writes, "The
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    United States Surgeon General Dr. Vivek H. Murthy recently stated "Health
   misinformation is a serious threat to public health. It can cause confusion, sow
   mistrust, harm people's health, and undermine public health efforts." Unfortunately,
   throughout the COVID-19 pandemic, we have witnessed a small minority of medical
   professionals spread misinformation and disinformation that has led some
   Californians to decline COVID-19 vaccines, reject public health measures such as
   masking and physical distancing, and use unproven treatments, such as ivermectin.
   The American Board of Medical Specialties (ABMS), consisting of the boards that
   determine whether physicians can be board-certified, issued a statement in
   September 2021 stating, "The spread of misinformation and the misapplication of
   medical science by physicians and other medical professionals is especially harmful
   as it threatens the health and wellbeing of our communities and at the same time
    undermines public trust in the profession and established best practices in care."
   Further, a recent article in the Journal of the American Medical Association states
   that the power of social media amplifies the message of the small minority of
   physicians making these types of false claims. AB 2098 clarifies in statute that the
   dissemination of COVID-19 misinformation and disinformation is unprofessional
   conduct and would give clear direction to the Medical Board of California and the
   Osteopathic Medical Board of California on how to evaluate a potential disciplinary
   action against a physician or surgeon who may be investigated for this reason. "

   According to the _  American
                         _ _ _Academy
                                  ____     of_Pediatrics,
                                                ____      California
                                                            _ _ _ , "Licensed physicians
   possess a high degree of public trust and therefore have a powerful platform in
   society. When they choose to spread inaccurate information, physicians contradict
   their responsibilities and further erode public trust in the medical profession. By
   passing this bill, California will demonstrate its unwavering support for a
   scientifically informed populous to protect ourselves from COVID- 19."

4. Arguments in Opposition. According to a Voice for Choice Advocacy , "While we
                                                  ----------
   agree that physicians and surgeons should be disciplined for maliciously sharing
   misinformation and disinformation, there are already measures in place for the
   California Medical Board to discipline for such offenses. Furthermore, AB 2098 is
   overly broad and would be impossible to implement because there is no definition
   and no established "standard of care" or "contemporary scientific consensus" for
   treating SARS-COV-2/COVID-19.

   We are still in a time of evolution with this virus and its treatment, as we have been
   for the past 2+ years. SARS-COV-2 has mutated becoming more transmissible but
   less severe. While a handful of treatments have been authorized by the FDA, such
   as monoclonal antibodies and anti-viral medications, there are hundreds more in
   clinical trials that will come to market in the next months and years.
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   In the meantime, if this bill passes, California risks losing even more doctors to
   other states because they do not want to be put in the position of possibly being
   disciplined because they were using the latest research, which had not become
   standard of care yet, or trying adjunct treatments for better outcomes, that may not
   have been discovered or written about yet, or using protocols from other countries
   or states. If it were not for doctors trying different approaches throughout the past
   two years, we would still be using ventilators ineffectively."

   Association of American Physicians and Surgeons, Inc. write, "We believe it is
   unethical for physicians to participate in any process that impedes the free
   exchange of scientific and clinical ideas through public allegations of misconduct or
   threats of punishment. Use of the stigmatizing label "misinformation" in a medical
   disciplinary environment is anti-scientific and unethical. To our colleagues: In
   addressing differences of opinion regarding patient management, we call on all
   physicians to abstain from making public allegations of professional misconduct
   against colleagues. To Medical Board Members: Decisions on sanctions against
   individual physicians exert the gravest of influence, reaching into life and- death
   clinical decision-making. AAPS believes the proper role for a medical practice board
   is to provide a legal mechanism for patients and physicians to investigate and
   resolve allegations of professional misconduct. This can only be accomplished in an
   environment with clearly defined rules, access to full legal due process, and
   scientific integrity. It is ethically improper to use disciplinary boards to resolve
   debates about the interpretation of medical science. "

   According to California Health Coalition Advocacy, "CHCA has the following
   concerns about this bill:
      • Doctors go through rigorous education and training and should be allowed to
         voice their medical and professional opinions freely.
      • Science and medicine have historically been advanced through minority
         voices. The stifling of dissenting opinion will have long lasting effects on the
         advancement of health care.
      •  The   unintended consequence might be that the healthcare provider shortage
         would be exacerbated by the proposed law.
      • California Business and Professions code recognizes that: "Since the
         National Institute of Medicine has reported that it can take up to 17 years for
         a new best practice to reach the average physician and surgeon, it is prudent
         to give attention to new developments not only in general medical care, but
         in the actual treatment of specific diseases, particularly those that are not yet
         broadly recognized in California." Division 2, Chapter 5, Article 12, S ection
         2234.1
      • The understanding of the data and science related to COVID-19 continues to
         change as more studies are done. Standards of care are being updated as
         new information and treatments emerge. Any attempt at determining
         "contemporary scientific consensus" will be fleeting .
      • Top doctors in their field from UCSF, Stanford, and other well respected
         institutions are speaking out about their lack of support for COVID-19
         vaccines for children. Would these respected doctors be disciplined if AB
         2098 were to pass?"

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    Californians
    _  ____      for_Good
                      _ _Governance
                              _ _ _ _ opposes this bill "based on concerns about its
    unconstitutional restrictions on free speech." The organization argues that "while the
    state may be able to claim that providing the public with accurate information
    regarding Covid-19 is a compelling interest, it cannot possibly argue that the blunt
    weapon that AB 2098 represents is narrowly tailored to that interest." The
    organization further states that "in a country such as ours, which was established on
    the foundation of civil liberties such as free speech, the truth is something hashed
    out in the marketplace of ideas, rather than dictated by the government."

5. Comments. MBC supports this bill if it is amended. According to MBC, it "faces
   considerable challenges investigating cases involving a violation of the [Act] related
   to COVID-19. Oftentimes, complaints received by the Board pertaining to COVID-19
   are made by a member of the public and not the patient of the physician. In some
   COVID-19 related investigations, the Board is unable to identify any specific
   patients who have been treated by the physician in question. Without a patient's
   name, it is impossible to obtain their consent for records and the Board will be
   unable to identify what patient records to seek in a n investigative subpoena."

    MBC notes that its request for enhanced authority to inspect medical records would
    assist in overcoming this challenge. MBC also states that "The definition of
    'misinformation' is unclear and may lead to legal challenges following the imposition
    of discipline under this proposed law. If this occurs, the Board will have to use its
    financial resources, its staff time, and the staff time of the Attorney General's Office
    to defend against such litigation. Further, the Board may face significant challenges
    proving the dissemination of "disinformation," as it would be required to establish
    the physician's intent. Under current law, to prove a violation of the standard of
    care, the intent of the licensee, generally, is not relevant. MBC requests that the
    definition be updated to read

       "Misinformation" means false information that is contradicted by contemporary
       scientific consensus contrary to the standard of care to an extent where its
       dissemination constitutes gross negligence by the licensee.

    According to MBC, "This amendment connects the potential violation to the
    standard of care, which is a well-established concept followed by the Board and
    related administrative entities involved in the disciplinary process. "

6. Should this bill only apply to physicians and surgeons? Physician and
   surgeons are not the only licensed health care providers licensed who may engage
   in practices that this bill seeks to address. Earlier this year, this Committee, in
   coordination with the Assembly Committee on Business and Professions, asked
   questions through the sunset review oversight process about efforts health care
   licensing programs are undertaking in order to curb the spread of medical
   misinformation. One example was highlighted in a staff prepared background paper
   for the sunset review oversight of the Board of Chiropractic Examiners noting that in
   Spring 2020, that board reported that several complaints were received about
   licensed doctors of chiropractic who were advertising that chiropractic care can help
   patients reduce their risk of COVID-19 infection. That board investigated the
   complaints, and the licensees subsequently removed advertisements from their
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   websites. Given that many additional licensed health care providers also have a
   "high degree of public trust and therefore must be held accountable for the
   information they spread " as the Author notes for physicians and surgeons in
   identifying the rationale for this measure, it is unclear why only one category of
   professional would be specified through statue designating their activities as
   unprofessional conduct. The Author may wish to continue discussing whether other
   health care licensees should be included in the provisions of this bill.

SUPPORT AND OPPOSITION:

Support:

California Medical Association (Sponsor)
American Academy of Pediatrics, California
American College of Obstetricians and Gynecologists District IX
California Chapter of The American College of Emergency Physicians
California Podiatric Medical Association
California Rheumatology Alliance
California Society of Anesthesiologists
Children's Specialty Care Coalition
County Health Executives Association of California
Families for Opening Carlsbad Schools
Pandemic Patients
Protect US
Teens for Vaccines INC.

Opposition:

A Voice for Choice Advocacy
Association of American Physicians and Surgeons
California Health Coalition Advocacy
Californians for Good Governance
Catholic Families 4 Freedom CA
Central Coast Health Coalition
Children's Health Defense California Chapter
Coalition for Informed Consent
Concerned Women for America
Dbsa California
Educate. Advocate.
Family Details LLC
Frederick Douglass Foundation of California
Freedom Keepers United, CA Freedom Keepers
Front Line Covid-19 Critical Care Alliance
Homewatch Caregivers of Huntington Beach
Natomas USD for Freedom
Not On Our Watch
Nuremberg 2.0 Ltd.
Pacific Justice Institute
Physicians for Informed Consent
Protection of The Educational Rights for Kids
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Real Impact.
Restore Childhood
Siskiyou Conservative Republicans
Stand Up Sacramento County
Towards an Internet of Living Beings
Whittier Parents for Choice


                                       -- END --




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SENATE RULES COMMITTEE                                                   AB 2098
Office of Senate Floor Analyses
(916) 651-1520 Fax: (916) 327-4478

                                THIRD READING

Bill No:    AB 2098
Author:     Low (D), et al.
Amended:    6/21/22 in Senate
Vote:       21

SENATE BUS., PROF. & ECON. DEV. COMMITTEE: 9-4, 6/27/22
AYES: Roth, Archuleta, Dodd, Eggman, Hurtado, Leyva, Min, Newman, Pan
NOES: Melendez, Bates, Jones, Ochoa Bogh
NO VOTE RECORDED: Becker
SENATE APPROPRIATIONS COMMITTEE: 5-2, 8/11/22
AYES: Portantino, Bradford, Laird, McGuire, Wieckowski
NOES: Bates, Jones
ASSEMBLY FLOOR: 53-20, 5/26/22 - See last page for vote

SUBJECT: Physicians and surgeons: unprofessional conduct

SOURCE: California Medical Association

DIGEST: This bill makes disseminating misinformation, as defined, or
disinformation related to COVID-19, including false or misleading information
regarding the nature and risks of the virus, its prevention and treatment; and the
development, safety, and effectiveness of COVID-19 vaccines, by a physician and
surgeon unprofessional conduct.

ANALYSIS:
Existing law:

1) Regulates the practice of medicine under the Medical Practice Act (Act), which
   establishes the Medical Board of California (MBC) to administer and enforce
   the Act. (Business and Professions Code (BPC) § 2000 et. seq.)

2) Enacts the Osteopathic Act, which provides for the licensure and regulation of
   osteopathic physicians and surgeons. (BPC §§ 2450 et seq.)


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3) Provides that protection of the public shall be the highest priority for both the
   MBC and the Osteopathic Medical Board of California (OMBC) in exercising
   their respective licensing, regulatory, and disciplinary functions, and that
   whenever the protection of the public is inconsistent with other interests sought
   to be promoted, the protection of the public shall be paramount. (BPC § 2001.1;
   § 2450.1)
4) Provides that all proceedings against a licensee for unprofessional conduct, or
   against an applicant for licensure for unprofessional conduct or cause, shall be
   conducted in accordance with the Administrative Procedure Act. (BPC § 2230)
5) Establishes various violations that constitute unprofessional conduct. (BPC §§
   725 et. seq)

6) Requires the MBC to take action against any licensee who is charged with
   unprofessional conduct, which includes, but is not limited to, the following:
   a) Violating or aiding in the violation of the Medical Practice Act.
   b) Gross negligence.
   c) Repeated negligent acts.
   d) Incompetence.
   e) The commission of any act involving dishonesty or corruption that is
      substantially related to the qualifications, functions, or duties of a physician.
   f) Any action or conduct that would have warranted the denial of a certificate.
   g) The failure by a physician, in the absence of good cause, to attend and
      participate in an investigatory interview by the MBC. (BPC § 2234)

7) Provides that a physician shall not be subject to discipline solely on the basis
   that the treatment or advice they rendered to a patient is alternative or
   complementary medicine if that treatment or advice was provided after
   informed consent and a good-faith prior examination; was provided after the
   physician provided the patient with information concerning conventional
   treatment; and the alternative complementary medicine did not cause a delay in,
   or discourage traditional diagnosis of, a condition of the patient, or cause death
   or serious bodily injury to the patient. (BPC § 2234.1)

This bill:
1) Provides that it is unprofessional conduct for a physician and surgeon to
   disseminate misinformation or disinformation related to COVID-19, including:
   false or misleading information about the nature and risks of the virus; COVID-
   19 prevention and treatment; and the development, safety, and effectiveness of
   COVID-19 vaccines.

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2) Defines the following:
   a) "Board" means the MBC or OMBC.
   b) "Disinformation" means misinformation that the licensee deliberately
      disseminated with malicious intent or an intent to mislead.
   c) "Disseminate" means the conveyance of information from the licensee to a
      patient under the licensee's care in the form of treatment or advice.
   d) "Misinformation" means false information that is contradicted by
      contemporary scientific consensus to an extent where its dissemination
      constitutes gross negligence by the licensee.
   e) "Physician and surgeon" means person licensed by the MBC or OMBC.

3) Specifies that violators of these provisions are not guilty of a misdemeanor.

4) Makes findings and declarations about the impacts of COVID-19, information
   about COVID-19 vaccines, and impacts of misinformation and disinformation
   about COVID-19 vaccines

Background
COVID-19 Misinformation and Disinformation. In March 2020, Governor
Newsom declared a State of Emergency due to the COVID-19 pandemic that was
beginning to spread widely. In December 2020, an emergency-approved COVID-
19 vaccine began to roll out first to the aging population and healthcare
professionals and eventually to all adults, and now all children. While scientists
began working on creating the vaccine, misinformation and disinformation spread
widely. CDC makes the distinction that misinformation is shared by people who
not intend harm and disinformation is false information to deliberately disseminate
with malice. This bill makes a distinction, but does not differentiate consequences
for doctors.

Misinformation has resulted in less than desired vaccine rates, continued
unnecessary spread and risk to communities. Reports show that as of June 21,
2022, only 75.6% of people 5 and older are fully vaccinated. Yale Medicine
reports that a community needs 95% of the population to reach herd immunity.
Part of the low vaccine rate is attributed to misinformation causing fear about
potential side effects. Researchers at the Center for Health Security at the Johns
Hopkins Bloomberg School of Public Health recently estimated that 2 million to
12 million people in the US were unvaccinated against COVID-19 because of
misinformation or disinformation.

In November 2021, the American Medical Association adopted a new policy to
combat misinformation because "[health professional] using their professional

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license to validate the disinformation they are spreading has seriously undermined
public health efforts". The CDC and State Public Health Officials have published a
myths and facts page to clarify misinformation. Origination of misinformation is
not clear; however, the White House reported in 2021 that much of the COVID-19
vaccine misinformation began with a number of online social media users.
Physicians and healthcare professionals play a critical role in keeping communities
healthy. A physician's recommendation and information sharing will educate and
inform decisions made by their patients. As such, providing accurate information
will ultimately impact patient's health. NPR reported that, "The Center for
Countering Digital Hate, which tracks vaccine misinformation online, says that
even though the number of doctors involved in spreading this sort of bad
information is tiny, they're having an outsized influence." This bill would
explicating hold physicians accountable for providing misinformation or
disinformation about COVID-19 vaccines. This bill does not, however, include
other healthcare professionals which have also been reported as spreading
misinformation and disinformation.

Comments

According to MBC, it "faces considerable challenges investigating cases involving
a violation of the [Act] related to COVID-19. Oftentimes, complaints received by
the Board pertaining to COVID-19 are made by a member of the public and not the
patient of the physician. In some COVID-19 related investigations, the Board is
unable to identify any specific patients who have been treated by the physician in
question. Without a patient's name, it is impossible to obtain their consent for
records and the Board will be unable to identify what patient records to seek in an
investigative subpoena." MBC notes that its request for enhanced authority to
inspect medical records would assist in overcoming this challenge. MBC also
states that "The definition of 'misinformation' is unclear and may lead to legal
challenges following the imposition of discipline under this proposed law. MBC
requests that the definition be updated to read "Misinformation" means false
information that is contradicted by contemporary scientific consensus contrary to
the standard of care to an extent where its dissemination constitutes gross
negligence by the licensee.

Physicians and surgeons are not the only licensed health care providers licensed
who may engage in practices that this bill seeks to address. In 2022, the Senate
Committee on Business, Professions, and Economic Development, in coordination
with the Assembly Committee on Business and Professions, asked questions
through the sunset review oversight process about efforts health care licensing


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programs are undertaking in order to curb the spread of medical misinformation.
One example was highlighted in a staff prepared background paper for the sunset
review oversight of the Board of Chiropractic Examiners noting that in Spring
2020, that board reported that several complaints were received about licensed
doctors of chiropractic who were advertising that chiropractic care can help
patients reduce their risk of COVID-19 infection. That board investigated the
complaints, and the licensees subsequently removed advertisements from their
websites. Given that many additional licensed health care providers also have a
"high degree of public trust and therefore must be held accountable for the
information they spread", as the Author notes for physicians and surgeons in
identifying the rationale for this measure, it is unclear why only one category of
professional would be specified through statue designating their activities as
unprofessional conduct.

FISCAL EFFECT: Appropriation: No             Fiscal Com.:   Yes    Local: No

According to the Senate Appropriations Committee, OMBC estimates a fiscal
impact of $10,000 and MBC anticipates any fiscal impact to be absorbable within
existing resources as the board currently implements an allegation code for
COVID-19 related complaints and tracks discipline related to unprofessional
conduct. Actual enforcement costs to the MBC and OMBC are indeterminate and
would depend on the volume of complaints received specific to COVID-19
misinformation and disinformation, as well as the complexity of any subsequent
investigations. The Office of Information Services within the Department of
Consumer Affairs estimates $1,600 for workload associated with making
information technology changes.

SUPPORT: (Verified 8/11/22)
California Medical Association (source)
American Academy of Pediatrics, California
American College of Emergency Physicians, California Chapter
American College of Obstetricians and Gynecologists District IX
California Podiatric Medical Association
California Rheumatology Alliance
California Society of Anesthesiologists
Children's Specialty Care Coalition
County Health Executives Association of California
Families for Opening Carlsbad Schools
Pandemic Patients



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Protect US
Teens for Vaccines, Inc.

OPPOSITION: (Verified 8/11/22)
A Voice for Choice Advocacy
Association of American Physicians and Surgeons
California Health Coalition Advocacy
Californians for Good Governance
Catholic Families 4 Freedom, California
Central Coast Health Coalition
Children's Health Defense California Chapter
Coalition for Informed Consent
Concerned Women for America
Depression and Bipolar Support Alliance, California
Educate. Advocate.
Family Details LLC
Frederick Douglass Foundation of California
Freedom Keepers United, California Freedom Keepers
Front Line Covid-19 Critical Care Alliance
Homewatch Caregivers of Huntington Beach
Natomas USD for Freedom
Not On Our Watch
Nuremberg 2.0 Ltd.
Pacific Justice Institute
Physicians for Informed Consent
Protection of The Educational Rights for Kids
Real Impact.
Restore Childhood
Siskiyou Conservative Republicans
Stand Up Sacramento County
Towards an Internet of Living Beings
Whittier Parents for Choice
ARGUMENTS IN SUPPORT: Supporters write that licensed physicians possess
a high degree of public trust and therefore have a powerful platform in society.
When they choose to spread inaccurate information, physicians contradict their
responsibilities and further erode public trust in the medical profession. By passing
this bill, California will demonstrate its unwavering support for a scientifically
informed populous to protect ourselves from COVID-19. The California Medical
Association notes that " While the MBC may have the ability to discipline licensees


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for unprofessional conduct under Business and Professions Code section 2234, AB
2098 makes clear that the MBC has the statutory authority to take such actions
against physicians that spread COVID- 19 misinformation or disinformation."
Supporters state that health misinformation is a serious threat to public health that
can cause confusion, sow mistrust, harm people's health, and undermine public
health efforts.

ARGUMENTS IN OPPOSITION: According to A Voice for Choice Advocacy,
"While we agree that physicians and surgeons should be disciplined for
maliciously sharing misinformation and disinformation, there are already measures
in place for the California Medical Board to discipline for such offenses.
Furthermore, AB 2098 is overly broad and would be impossible to implement
because there is no definition and no established ' standard of care or
 contemporary scientific consensus for treating SARS-COV-2/COVID-19."
Opponents also note that doctors should be allowed to voice their medical and
professional opinions freely and state that an unintended consequence of this bill
might be that the healthcare provider shortage would be exacerbated. Opponents
also express concerns about unconstitutional restrictions on free speech.

ASSEMBLY FLOOR: 53-20, 5/26/22
AYES: Aguiar-Curry, Arambula, Bauer-Kahan, Bennett, Bloom, Boerner
  Horvath, Mia Bonta, Bryan, Calderon, Carrillo, Cervantes, Cooper, Daly, Mike
  Fong, Friedman, Gabriel, Cristina Garcia, Eduardo Garcia, Gipson, Gray,
  Haney, Holden, Irwin, Jones-Sawyer, Kalra, Lee, Levine, Low, Maienschein,
  McCarty, Medina, Mullin, Muratsuchi, Petrie-Norris, Quirk, Quirk-Silva,
  Ramos, Reyes, Luz Rivas, Robert Rivas, Rodriguez, Blanca Rubio, Salas,
  Santiago, Stone, Ting, Villapudua, Ward, Akilah Weber, Wicks, Wilson, Wood,
  Rendon
NOES: Bigelow, Chen, Choi, Cooley, Cunningham, Megan Dahle, Davies, Flora,
  Fong, Gallagher, Kiley, Lackey, Mathis, Nguyen, Patterson, Seyarto, Smith,
  Valladares, Voepel, Waldron
NO VOTE RECORDED: Berman, Grayson, Mayes, Nazarian, O'Donnell

Prepared by: Sarah Mason / B., P. & E.D. /
8/13/22 9:49:29

                                 **** END ****




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CONCURRENCE IN SENATE AMENDMENTS
AB 2098 (Low)
As Amended August 22, 2022
Majority vote

SUMMARY
Expressly provides that the dissemination of misinformation or disinformation related to
COVID-19 by physicians and surgeons constitutes unprofessional conduct.

Senate Amendments
1) Strikes the requirement that the Medical Board of California (MBC) or the Osteopathic
   Medical Board of California (OMBC) must consider certain factors prior to bringing a
   disciplinary action against a licensee under this bill.

2) Adjusts the definition of "misinformation" to mean false information that is contradicted by
   contemporary scientific consensus contrary to the standard of care.

3) Rearranges this bill's definitions so that they are listed in alphabetical order.

COMMENTS
Misinformation and Disinformation. This bill is intended to target three types of false or
misleading information relating to the COVID-19 pandemic. First, the language refers to
nonfactual information regarding "the nature and risks of the virus" for example, misleadingly
comparing COVID-19 to less serious conditions or inaccurately characterizing the deadliness of
the disease. Second, the bill seeks to address false statements regarding its "prevention and
treatment" this would presumably include treatments and therapies that have no proven
effectiveness against the virus. The third category is for misinformation or disinformation
regarding "the development, safety, and effectiveness of COVID-19 vaccines."

Public skepticism and misunderstanding of diseases, treatments, and immunizations is not unique
to COVID-19. The earliest known group formed to oppose vaccination programs, the National
Anti-Vaccination League, was established in the United Kingdom in 1866 following a series of
violent protests against mandatory smallpox immunizations in the Vaccination Act of 1853. In
1918, conspiracy theories were circulated that the Spanish Flu pandemic was a deliberate act of
biological warfare, spread through aspirin manufactured by German company Bayer.

What has been historically unprecedented about the dissemination of misinformation and
disinformation throughout the COVID-19 pandemic is the omnipresence of media coverage and
the prevalence of social media. False information can easily be spread to millions within days or
even hours of it being created. It can become challenging for a population already feeling
overloaded with complex information to differentiate between thoroughly researched, accurate
reporting and information that is oversimplified, unproven, or patently false.

A substantial factor in the spread of false information is a phenomenon known as "confirmation
bias." When individuals hold a preexisting belief or suspicion, they will often unconsciously
seek out information to validate that predisposition and filter out contradictory evidence. The
persistence of modern media exposure and the internet has exacerbated this effect, as information
seeming to support virtually any viewpoint or understanding can now easily be found through the
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use of search engines and social media. Many websites further exacerbate the issue of
confirmation bias by algorithmically delivering consistent information to users who have
demonstrated a pattern of belief or ideology.

The role of physicians and other health professionals in legitimizing false information during the
COVID-19 pandemic has presented serious implications for public safety. For example, the
federal Centers for Disease Control and Prevention (CDC) has for decades been recognized as
the United States government's primary agency for protecting Americans through expert research
and advice related to the control and prevention of communicable disease. The CDC has
consistently warned Americans about the threat of COVID-19 and strongly encouraged
vaccination. However, throughout the pandemic, many individuals who are predisposed toward
skepticism of the government and incredulity toward vaccines have sought to validate those
views, despite unambiguous guidance to the contrary from leading health experts.

As a result, health practitioners whose views on COVID-19 and immunization against it are
within the extreme minority for their profession are armed with a disproportionately loud voice
in the public discourse. Antigovernment cynics and vaccine skeptics cohere to the opinions of
those few physicians who will reinforce their beliefs as they seek to appeal to authority in service
of their confirmation bias. The effect of this is that a relatively small group of public health
contrarians who are licensed as physicians will be afforded the same, if not more, credibility as
long-trusted public institutions like the CDC, the FDA, and the American Medical Association,
even if those physicians do not specialize in epidemiology or infectious disease prevention.

The incongruity of this reasoning is frequently rationalized in part through conspiracy theories
about the medical establishment. This is not novel. When allopathic medicine first achieved
dominance during the Progressive Era, there were many who vilified the medical system as
financially motivated, accusing "modern medicine men" of oppressing natural therapies in order
to profit from a monopoly on health care practice. Other related conspiracy theories frequently
involve the United States government, which has been accused of everything from inventing or
exaggerating the pandemic to suppressing natural remedies, or even using COVID-19 vaccines
as a clandestine method for implanting microchips into Americans.

Role of State Medical Boards. Physicians and surgeons in California are regulated by one of two
entities: the Medical Board of California (MBC) or the Osteopathic Medical Board of California
(OMBC). The MBC licenses and regulates about 153,000 physicians while the OMBC licenses
and regulates slightly over 12,000. Despite receiving different forms of medical education and
being overseen by separate boards, the essential scope of practice for these two categories of
licensees are virtually identical.

In July of 2021, the Federation of State Medical Boards (FSMB) issued a statement positioned as
being "in response to a dramatic increase in the dissemination of COVID-19 vaccine
misinformation and disinformation by physicians and other health care professionals on social
media platforms, online and in the media." The FSMB warned that physicians who engage in
the spread of false information related to COVID-19 were jeopardizing their licenses to practice
medicine. While physicians are subject to discipline only by boards located in states where they
hold a license, the FSMB's statement was viewed as a serious warning to doctors that they risked
disciplinary action if they engaged in spreading inaccurate information.

Following the FSMB's statement, some state medical boards appeared poised to take action
against licensees found to be spreading misinformation or disinformation. Tennessee's Board of
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Medical Examiners adopted the FSMB's statement as their own. However, in response, the
state's Republican legislature threatened to disband the board if it sought to take any such action
against a physician. Legislation in at least fourteen states has been introduced to prevent medical
boards from holding physicians who spread false information accountable in accordance with the
FSMB's guidance.

In contrast to legislative action taken in those states, this bill would seek to confirm that in
California, physicians who disseminate COVID-19 misinformation or disinformation are indeed
subject to formal discipline. The bill would expressly establish that such dissemination would
constitute "unprofessional conduct" a term used prolifically in the Medical Practice Act as a
general description of numerous forms of conduct for which disciplinary action may be taken.
The MBC or OMBC would be authorized to take enforcement action against physicians who
have used their licenses to jeopardize public health and safety through the spread of false
information.

It is certainly meaningful that this bill would establish as a matter of California law that
physicians are subject to discipline for spreading false information. However, it is more than
likely that the MBC and OMBC are both already fully capable of bringing an accusation against
a physician for this type of misconduct. For example, the Medical Practice Act includes "gross
negligence" and "repeated negligent acts" within the meaning of unprofessional conduct,
representing situations where the physician deviated from the standard of care in the opinion of
the MBC and its expert medical reviewers.

If, for example, a physician were to advise patients to inject disinfectant as a way of treating
COVID-19 as former President Trump once did, resulting in a sharp rise in reported incidents
of misusing bleach and other cleaning products disseminating that "misinformation" would
almost certainly be considered negligent care subject to discipline. Whether a case of spreading
misinformation is sufficient to bring an action for gross negligence would be evaluated using the
MBC's expert reviewer guidelines, which provide that "the determining factor is the degree of
departure from the applicable standard of care." Similarly, it is arguable that spreading
"disinformation" as commonly defined would constitute an "act of dishonesty or corruption"
also statutorily included within the Medical Practice Act's meaning of unprofessional conduct.

Those in opposition to this bill have expressed concern that the MBC would overzealously
prosecute doctors for expressing views that are outside the mainstream but not indisputably
unreasonable based on the physician's research and training. This apprehension cannot easily be
reconciled with persistent criticisms levied against the MBC by the Legislature and patient safety
advocates, who have repeatedly reproved the board for its underwhelming enforcement
activities. Major news editorials have pointed out that the MBC only takes formal disciplinary
action in about three percent of cases, and that more than 80 percent of complaints are dismissed
without investigation. As the Legislature persists in its admonishment of the MBC for failing to
take aggressive action against physicians who commit unprofessional conduct, it would appear
dubious that the board would excessively utilize the authority expressly provided by this bill.

It stands to reason that Californians who have demonstrated suspicion toward both the medical
establishment and their government would be slow to trust the MBC, with a majority of its
members consisting of physicians appointed by the Governor. However, the degree of enmity
recently exhibited by physicians and others opposed to COVID-19 prevention policies could be
viewed as disturbing. In December of 2021, it was reported that representatives of an anti-

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vaccination organization called America's Frontline Doctors had stalked and intimidated Kristina
Lawson, President of the MBC. This harassment was escalated in April of 2022 when that same
organization "released a 21-minute video that depicts Lawson in Nazi regalia, a whip in her hand
and swastika on her shoulder, and shows a clip of the garage confrontation validating Lawson's
description."

America's Frontline Doctors was founded by Dr. Simone Gold, who holds an active license in
California as a physician. Dr. Gold and her organization have vociferously promoted
hydroxychloroquine as a COVID-19 treatment, despite evidence increasingly showing it to be
ineffective and potentially unsafe. Dr. Gold has engaged in multiple campaigns to stoke public
distrust in COVID-19 vaccines, characterizing them as "experimental" despite numerous safety
and efficacy trials successfully confirming their safety and efficacy. Dr. Gold spoke at a rally
held in conjunction with the attempted insurrection on the United States Capitol on January 6,
2021; she was arrested and subsequently pleaded guilty to a misdemeanor relating to that event.

Despite what would appear to be repeated conduct perpetrated by Dr. Gold involving the
dissemination of false information regarding COVID-19, Dr. Gold's license remains active with
the MBC and there appears to be no record of any disciplinary action taken against her. Given
the air of legitimacy she sustains from her status as a licensed physician, Dr. Gold likely serves
as an illustrative example of the type of behavior that the author of this bill seeks to
unequivocally establish as constituting unprofessional conduct for physicians in California.
Regardless of whether similar authority is already available to the MBC through other
enforceable provisions in the Medical Practice Act, it is understandable that the author desires to
make this authority explicit and confirm that doctors licensed in California who disseminate
misinformation or disinformation should be held fully accountable.

According to the Author
"AB 2098 is crucial to addressing the amplification of misinformation and disinformation related
to the COVID-19 pandemic. Licensed physicians, doctors, and surgeons possess a high degree of
public trust and therefore must be held accountable for the information they spread. Providing
patients with accurate, science-based information on the pandemic and COVID-19 vaccinations
is imperative to protecting public health. By passing this legislation, California will show its
unwavering support for a scientifically informed populous to protect ourselves from COVID-
19."

Arguments in Support
The California Medical Association (CMA) is co-sponsoring this bill. According to the CMA:
"The COVID-19 pandemic has unfortunately led to increasing amounts of misinformation and
disinformation related to the disease including how the virus is transmitted, promoting untested
treatments and cures, and calling into question public health efforts such as masking and
vaccinations. Many health professionals, including physicians, have been the culprits of this
misinformation and disinformation effort."

ProtectUS is co-sponsoring this bill, writing: "Licensed physicians possess a high degree of
public trust and therefore have a powerful platform in society. They have a professional and
ethical obligation to counsel and treat patients based not on their own opinion or beliefs, but on
medical guidelines and peer-reviewed scientific evidence. When they choose to spread
inaccurate information and lend credibility to conspiracy theories, physicians discourage patients
from accessing life-saving vaccines. And their actions disproportionately affect the most

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vulnerable members of society--those who have the least access to credible information, and the
fewest resources available should they become sick."

Arguments in Opposition
A Voice for Choice Advocacy opposes this bill, writing: "While we agree that physicians and
surgeons should be disciplined for maliciously sharing misinformation and disinformation, there
are already measures in place for the California Medical Board to discipline for such offenses.
Furthermore, AB 2098 is overly broad and would be impossible to implement because there is no
definition and no established 'standard of care' or 'contemporary scientific consensus' for treating
SARS-COV-2/COVID-19."

Californians for Good Governance opposes this bill "based on concerns about its
unconstitutional restrictions on free speech." The organization argues that "while the state may
be able to claim that providing the public with accurate information regarding Covid-19 is a
compelling interest, it cannot possibly argue that the blunt weapon that AB 2098 represents is
narrowly tailored to that interest." The organization further states that "in a country such as ours,
which was established on the foundation of civil liberties such as free speech, the truth is
something hashed out in the marketplace of ideas, rather than dictated by the government."

FISCAL COMMENTS
According to the Senate Appropriations Committee, the OMBC estimates a fiscal impact of
$10,000, which is anticipated to be absorbable within existing resources; the MBC anticipates
any fiscal impact to be absorbable within existing resources as the board currently implements an
allegation code for COVID-19 related complaints and tracks discipline related to unprofessional
conduct; actual enforcement costs to the MBC and OMBC are indeterminate and would depend
on the volume of complaints received specific to COVID-19 misinformation and disinformation,
as well as the complexity of any subsequent investigations. The Office of Information Services
within the Department of Consumer Affairs estimates $1,600 for workload associated with
making information technology changes.




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VOTES:
ASM BUSINESS AND PROFESSIONS: 12-5-2
YES: Berman, Bloom, Mia Bonta, Gipson, Irwin, Lee, McCarty, Medina, Mullin, Ward, Ting,
Akilah Weber
NO: Flora, Chen, Cunningham, Megan Dahle, Fong
ABS, ABST OR NV: Grayson, Arambula

ASM APPROPRIATIONS: 12-4-0
YES: Holden, Bryan, Calderon, Carrillo, Mike Fong, Gabriel, Eduardo Garcia, Jones-Sawyer,
Quirk, Robert Rivas, Akilah Weber, Wilson
NO: Bigelow, Megan Dahle, Davies, Fong

ASSEMBLY FLOOR: 53-20-5
YES: Aguiar-Curry, Arambula, Bauer-Kahan, Bennett, Bloom, Boerner Horvath, Mia Bonta,
Bryan, Calderon, Carrillo, Cervantes, Cooper, Daly, Mike Fong, Friedman, Gabriel,
Cristina Garcia, Eduardo Garcia, Gipson, Gray, Haney, Holden, Irwin, Jones-Sawyer, Kalra,
Lee, Levine, Low, Maienschein, McCarty, Medina, Mullin, Muratsuchi, Petrie-Norris, Quirk,
Quirk-Silva, Ramos, Reyes, Luz Rivas, Robert Rivas, Rodriguez, Blanca Rubio, Salas, Santiago,
Stone, Ting, Villapudua, Ward, Akilah Weber, Wicks, Wilson, Wood, Rendon
NO: Bigelow, Chen, Choi, Cooley, Cunningham, Megan Dahle, Davies, Flora, Fong, Gallagher,
Kiley, Lackey, Mathis, Nguyen, Patterson, Seyarto, Smith, Valladares, Voepel, Waldron
ABS, ABST OR NV: Berman, Grayson, Mayes, Nazarian, O'Donnell

SENATE FLOOR: 32-8-0
YES: Allen, Archuleta, Atkins, Becker, Bradford, Caballero, Cortese, Dodd, Durazo, Eggman,
Glazer, Gonzalez, Hertzberg, Hueso, Hurtado, Kamlager, Laird, Leyva, Limón, McGuire, Min,
Newman, Ochoa Bogh, Pan, Portantino, Roth, Rubio, Skinner, Stern, Umberg, Wieckowski,
Wiener
NO: Bates, Borgeas, Dahle, Grove, Jones, Melendez, Nielsen, Wilk


UPDATED
VERSION: August 22, 2022

CONSULTANT: Robert Sumner / B. & P. / (916) 319-3301                           FN: 0004498




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